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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY

  RIGGS DISTLER        & COMPANY, INC.,:
                              Plaintiff, :
              V.


  VALERO REFINING COMPANY-               :
  NEW JERSEY and HOWE-BAKER              :     NO. 03-CV-5854
  ENGINEERS, LTD.,
                   Defendants    and     :
             Third Party Plaintiffs,     :

              V.


  C.H. SCHWERTNER     & SON, INC.,       :
  ET AL,
             Third Party Defendants.     :

                      EXHIBITS OF LIEN CLAIMANTS
                          IN SUPPORT  OF THEIR
            JOINT MOTION FOR PARTIAL SUMMARY JUDGMENT
                 ON THE CALCULATION   OF THE LIEN FUND


                                         JACOBY DONNER, P.C.
                                         Attorneys for C.H. Schwertner
                   "                     & Son, Inc.

                                         FLAMM, BOROFF & BACINE,          PC
                                         Attorneys for Riggs Distler &
                                         Company, Inc.

                                         DAVIS, BUCCO & ARDIZZI, PC
                                         Attorneys for Merrell & Garaguso,     Inc.

                                         LAW OFFICES OF STEVEN A. BERKOWITZ
                                         Attorneys for Brennan Industrial
                                         Contractors, Inc.

                                         CLANCY, CALLAHAN & SMITH
                                         Attorneys for S.M. Electric Company,     Inc.
                                         and
                                         Schoonover Electric Company, Inc.

                                         PEPPER HAMILTON, LLP
                                         Attorneys for I&S, Inc. and Mid-Atlantic
                                         Constructors,  Inc.
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               /
          •/       .=,_
     /,
/'


                                                  HOWE-BAKER ENGINEERS, LTD.



                                                                   AND



                                           VALERO REFINING COMPANY- NEW JERSEY




                                                     --EPC      AGREEMENT_....................



                          -_                                       FOR



                                                         CCR PLATFORMER



                                                    PAULSBORO, NEW JERSEY




                                                             Howe-Baker     _I
                                                              Engineers, Lld_ !1
                                                                   J-1901




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                                                                    Contract
                                                                           No.




         :                           ENGnCEERING,PROCUREMENT &
    •.             -                 ..
                                  CONSTRUCTION    AGRE. EMEINT
                                            BETWEEN
                           VALERO  REFINING   COMPANY   - NEW JERSEY

                                     • HOWE-BAKER   ENGINEERS,   LTD.




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                                                                                  Contract No,


"_                       _                 ENGINEERING, PROCUREMENT &
                                            CONSTRUCTION AGREEMENT

                  This Engh_ecfing, Procurement and Construction Agrecmant (the "Agreement"), made and
           entered into th_s 26th day of November, 2002 (the "Effective Date") by and among Valcru Rcfining
           Compsmy=Nc_y _crscy . (hercinafl_        referred to as "Valero"), and Howe-Baker Enginect_,
           Ltd.(hereinaRcr referred to as "Contractor");
                                                        WITNESSETH:

                  That Valero and Contractor, for the consideration set forth below and subject to all ofth_
           following terms and conditions, herebyagree as follows:

           1.          Composition of A_reement. Contractor will perform diligcntly_carefully and in a good,
                       substantial and workmanlike manner, all Work as defined in Paragraph3 called for in
                       this Agreemant. This Agreement shall include Certificate of Insurance; t._e "l'ecllmcal
                       ScopeDocument attachedheretoasAt_achmantl (the "TSD"); Drawings;Harm; .
                ....   Specifications and all-Exhibits attached hereto and by this refcrance.are all incorporated .............
                       and made a part hereof for all intents and purposes.. In the evant of a conflict between "
                       Di-awings and Specifications, the Drawings shall prevail. All Drawings, Plans.and
                       Specifications rcrnain the property of Valcro and shall be returned upon completion of

 _]_                   Specifications for itshowever,
                       the Work; provided     records. Contractor may retain copies of such Drawings, Plans and

                2. Term. A.        Project Schedule. Attached hereto as Exhibit A is the Project Schedul e.
                   Contractor shall administer and perform the Work substantially in accordance with the
                   Project Schedule and guarantee.s that the Mechanical Completion (as defined in the TSD) of
                   the Project shall occur on or before Project Date Certain (as defined below), subject to the
                   applicatlon of Delay Liquidated Damages per Section 2 E below if Mechanical Completion
                   of the Project occurs after the Project Date Certain, and subject to Articles 5, 25 and 37
                   hereunder. Project Date Certain means the date by wHch Contractor is obligated to reach "
                   Mechanical Completion as shown in the Project Schedule. As of the date of this Agreement,
                   the Pr0j_t Date Certain is January 31, 2004. The Project Schedule and the Project Date
                 • Certain shall not be adjusted except as provided in Section 2E. Time is of the essence in the
                   performance of this Agreement with respect to the Project Date Certain.

                                             Willcommence with theWork ,Uponexecution
                B. Noticeto Proceed.Contractor                                       ofthis
                   Agreementandshallthereafter
                                            proceedcontinuously
                                                              anddiligently
                                                                         top_form theWork.


                C. Previous Work. All work performed pursuant to that certain Letter of Intant between Valero
                   and Howe-Baker Engineers, Ltd., dated April 5, 2002 and that certain Interim Work
                 • Agreement between Valero and Howe-Baker Engineers, Ltd. dated July 1I, 2002, shall'be

                governedbyandsubject
                                   tothetermsofthis
                                                  Agreementasifsuchworkhadbeanperformed
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                                                                                             VAL 002887
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                        pursuant to this. Agreement.     "
.i



                    D. Early Completion Bonus. If Contraet0r achieves Mechanical Completion of the Project more
                          than twenty eight (28) Days. prior to the Project Date Certain (such twenty eight day period
                          is referred to _ the "Bonus Interim Period"), then Valero shall pay C9ntraetor an early
                          completion bonus equal to: (3 fifty thousand dollars ($50,000) for each Day that Mechanical
                          Completion of the Project is achieved prior to the Bonus Interim Period, for a period not to
                          exc,_ed four Days; (ii) one hundred thousand dollars ($100,000) for each Day that the
                   . . . Mechanical Completion of the Project prior to the Bonus Interim Period end the period
                        •referred tOin (i)above, for a period not to exceed four Days; and (iii)one hundred and filly"      ••
                       , :thousand dollars .($150,000 ) for cacti Day that the Mechanical Completion of the Project           "
                      - oenurs prior to Se Bonus Interim Period and the periods refer_ed to in (i) and (ii) above,(the " ,"
                          total of all such amounts earned by Contractor being the "Early Completion Bonus"). Valero
                          :will pay the Early Completion Bonus upon payment of the final invoice due hereunder. In -"
                          no event shall the Early Completion Bonus exceed one million five hundred thousand dollars
                          ($1,500,000). As u_ed herein, "'Day" shall mean a complete tWenty four hour period                "
               . .        commencing at 12:00:am and ending at 11:59 pro.

                        E. Delay Liquidated Damages. IfMechan{cal Completion of the Project occurs more tharf
                  .:_..:__twenty eight-(28).Da_ after the Project Date Ccrtain.(such twenty eight day p'eriod is
                             referred to as the "Delay Interim Period"), Contractor shall pay Valero the sum of: (i) fifty
             .               thousand dollars ($50,000) for each Day that the Mechanical Completion of the Project
                             occurs after the Delay'Interim.Period, for a period not to exceed four Days; and. (iQ one
                    •        hundred thousand dollars ($100,000) for each Day _at theMechanical COmpletion of the
     ,_        ::            Project occurs after the Delay Interim Period and the period referred to (i) above, for a period
                             not to exceed four Days; and (iii) one hundred.and fifty thousand dollars ($150,000) for each
                         • "Day that the Mechanical Completion of the Project occurs after the Delay Interim Period and
                             the periods referred to in (i) and (ii) above; (the total of all such amounts payable by
      ....                   Contractor being the "'Delay Liquidated Damages''), Contractor shall pay such Delay
                         " Liquidated Damages within thi_t'y(30) days of receipt of Valero's invoice therefor. Valero
                             may offset any such amounts in whole or in part against any security or any amounts due to
                             Contractor under this Agreement. THE CUTvlULATIVE AGGREGATE AMOUNT OF
                             DELAY LIQUIDATED DAM_AGES FOR WHICH CONTRACTOR                           SHALL BE LIABLE
                             UNDER THIS AGREEMENT             SHALL NOT EXCEED ONE MILLION FIVE HUNDRED
      -                      THOUSAND DOLLARS ($1,500,000). To the extent an event of Force Majeure, a Change
                            'Order or a failure of Valero to perform timely its obligations hereunder cause,s an actual
                             delay in the performance of Critical Path Items (as defined below) related to the Work, the
                             Project Schedule and the Project Date Certain shall be extended for each 24 hour period of
                             actual delay caused thereby. Critical Path Items are those items in the Project Schedule with
                             zero float as defined by the Primavera schedule sottwarc program or which as a result of the
                             delay have zero float. DELAY LIQtTIDATED DAMAGES SHALL BE VAJ..,ERO'S SOLE
                          • AND EXCLUSIVE .REMEDY FOR CONTRACTOR'S UNEXCUSED FAILURE TO
                             ACHIEVE MECHANICAL COMPLETION ON OR BEFORE THE PROJECT DATE
                             CERTAIN.


     ,)
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                       3.       Scope of Work. The t_u-m"Work" as used herein shall mean all labor, material, supplies,
    . -" .                      equipment and services necessary to engineer, design and constmct'the facilityshown and
     . _                        dascribed in the TSD. Contractor agrees to perform the Work and shall fiumish all labor,
                                material, supplies, equipment and services necessary to complete theWork.

                       4.      Services Prov_cled. Contractor agrees to have available at all times while engaged in the           . ).
         •"                    pcrforma_e of the Work, to furnish at its expense, and to be solely responsible for all'labor,
         •                     competent supervision, !nsurance, machinery, equipment, materials and s'upplies, tools
    •                          (whether r_nted or owned), equipment,,light, fuel, power, heat, transportation, and all other.
          :."                _ facilities necessary or desirable for the completion of the Work as described in the applicable
          ."                   TS_Dexcept for the items, if any, to be fu.ndshed by Valero, which items shall be specified
           .-     .            in the applicable TSD. Following are broad daseHptions of the type of Work that Contractor
    L            •             maY be request_l to finnish. This listing is not intended to be all inclusive, but to show
                • "-           example#:      . .-
'                              (a) Pro'form conceptual design and other consulting engineering studies.                 •
                               Co)"Perform detailed'piant engineering studies.
                               (c) Prepare specifications i_orengineered ¢quip.ment, instrumentation and electrical items,
                                  /engmeerea items being clctmeclas items having an item number on engineering flow
                                    diagrams .....
_._           ....             (d).Preparc__process flow diagrams (PFD_S). and piping and instrumentation diagrams

                                (e) Prepare detailed designs to enable the Work to be performed.                          "
                                 (1) Prepare purchase requisitiorm, bid summaries and/or issue purchase orders for engineered
                                .. equipment items and bulk materials.
     _)                          (g) Issue Subcontracts for services to be performed by others.
    "                            0a) Provide construction labor, supervision, materials, equipment, tools, and s_applies "•
                                     necessaryto constructthe facilities (hereinaftercalled "Facilities").
                                (i) Perform such other design, engineering, procurement, construction or related services as
                                    •Valero m/iy request.                                                                                 .

                       5.       Changes to Scone of Work.

                                (a)    Valet'o, without invalidating this Agreement, may order changes in, additions to and
                                       deletions fi'om the Work fi'om time to time, with all such changes to be ordered ifi
                                       writing, lJ"such changes in_,01veextra cost to Contractor or will adversely affect the
                                       Work or Contractor's ability to complete the Work prior to the Project Date Certain,
                                       Contractor shall so advise Valero in writing prior to commencing pcrforraance of
                                       such change. Contractor's notice to Valero shall be in writing, be provided within                 . .
                                       seven (7) days following Valero's request for such change, and include sucl_detail as
                                       Valero may reasonably request as to the effect of the requested change on the TSD
                                       Price (as defined below), the Project Schedule (including the Project Date Certain)
                                       and the Work. Ifsuch notice is not so given, it shall be deemed that no change oft,he
                                       TSD Price, the Project Schedule (including the Project Date Certain) or the Work is
                                       required by reason of such change. Contractor's cost of preparing the detailed
                                       definition and cost estimate for any change requested by Valcro shall be determined

                                    by Contractor and paid by Valero if the change is not accepted by Valero. If requested
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                                                                                             O
                                    by Valcro,  Contractorshall furnish apreliminary  estimate  ofContractors  costof
:.-- .                              preparing the aforementioned detailed definition and estimate for a change prior to

J                                   initiating
                                    Valero forsuch   preparation. Notwithstanding   the above,  there shall be no cost to
                                                 estimating  changes  that are accepted  by Valero,   a-,3dContractor, at
                                    Conlractor's sole option, may provide estimates of the cost ofvarlons design options'
                                    to Valero at no charge to Valero.

         ...                (b)     If the notice contemplated by Section 5(a) is given by Contractor, Valero and
                                  : Contractor shall endeavor in good faith to agree.upon an adju.stment to the TSD                                 !
                                    Price, the Project Schedule (including the Project Date Certain), and any other ferrus
                                    of this Agreement and/or the TSD affected by such change..

                                    In the absence of such agreement or in the event that Valero wishes to institute such                           .-
                                    change immediately without 1_.owledge of the effect on the Project Schedule
                                   •(including the Project Date Certain), TSD Price or Work resulting therefrom, extaz
                                    work sheets detailing the costs actually incurred shall be prepared weekly by
                                    Contractor and approved by Owner, and upon conclusion of the Work associated
                                    w'hh-th                  ,         nee     I be adjusted by the actual cumulative out.
                                    of pocket costs incurred by Contractor in performance of the Change Order, plus ten
                    .....           percent.( IQ%) as an allowance for Contractor's profit- Upon ennclusion of _e Work                .......   .
                                    associated with such a Change Order, Valcm and Contractor shall mutually agree to
                                    the effect, if anY,of the Change Order on the Project Schedule (including the ProjeCt
                                    Date Certain). All charges and expenses incurred pursuant to this Section 5("0)shall
                                    be subject to audit as provided in Section 29.
0                       • (c)      Atl changes to the TSD Price, the Project Schedule (including the.Projecl'Date "
                                   Certain), and/or the scope of the Work shall only be effective if made pursuant to a
                                   written change order (each, a "Change Order") executed by an authorized
                                   representative of Valero and an authorized representative of Contractor. Contractor's
                                   execution of each Change Order shall not be unreasonably Withheld or delayed.

                       • (d)       Contractor shall not comply with oral changes in the Work. If.Contractor beli_es
                                   that any oral notice or instruction received from Valero will involve a chafige in the
                                   cost, time to perform or integrity of the Work, it shall require that the notice or
                                   insmaction be given in writing and shall comply with the provisions of Section 5 (a).
                                    Any costs incurred by Contractor to perform oral changes shall be for Conlractor's
                                   account. If Contractor believes that any oral notice or instruction received from
                                   Valero will involve a change in the coat, time to perform or integrity of the Work, it
                                   shall require that the notice or instruction be given in writing and shall comply with
                                   the provisions of Section 5 (a).


               6.           Compensation. Upon execution of this Agreement, Contractor shall perform the Work at times "
                            and places as are set forth in the TSD. The fee for such Work shall be $110,145,980 (the
                            '"TSDPrice'").


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                                  •7,            Terms of PaymeiR.

     •                                           (a)       Contractor shall submit to Valem on or about the tenth day of each month an
                                                           application for progress payment pursuant to the Milestone Payment Schedule
           _ "•"                                           attached hereto as Exhibit 12. Subjectto Vaiero's verification that the _ippropriate
 :         . .                                            .Milestone has been achieved, Valero shall pay to Contractor ninety percent (90%) of           . "
                                                         . all amounts included in anysuch application for progress payment within thirty (30)
                                                           days after the receipt of any such application for progress payment by Valero. The
                                                        • balance of all applications for progress payment will be retained until final payment                  _.
 ".         " .               •                            per paragraphs 8(a)-(e).

                  •           ?
                                                 (b)      Contractor shall provide to Valero, (i) conditional releases and waivers upon progress -
                                                           payment substantially in the form attached as Exhibit B:I issued by all parties
                                                           retained by Contractor in connection with the Work who have rendere d services,
                                                           performed work or furnished materials, the costs of which are included in any
                          : ".                             application for payment, under this Agreement and is in excess of Five Thousand
                                                           Dollars ($5,000.00) indicating any amounts, including applicable retain,age,that are
                                                           due or owing to such parties for materials, !abor and/or other work, the costs of which"
--                    :                 ......          :--have-been-included in any application-for payment-submitted-and not paid by                        .....
                                          '                Contractor;, (i0 unconditional releases mad waivers upon progress payment
                          •                            . substmatially in the form attached as Exhibit B-2 issued by all pro'ties retained by
                                                         ' Contractor in counection with the Work who have f_dered services, performed work
         . "_                                              or.furnished mat_'cials,the cost of which is included in any application for payment,
                                                           under this Agreement and is. in excess of Five Thousand Dollars ($5,000.00),"
                                                           evidencing that _eb parties have been paid all amounts, less any applicable
                                           :               retalnage, attributable to materials, labor and/or otlier work, the costs of which have
                .......                                    been included in any application for payment submitted and paid by Valero; (iii) an
                                                           executed docoment substantially in the form of Exhibit B-5 granting Valero'a
                      "                                    security int_¢st in the Work; and (iv) a conditional release and lien Waiver upon
                                                           progress payment substantially in the form attached hereto as Exhibit B-3 issued by
                                                           Contractor.

                                                 (e)     All applications for Milestone Payments under this Agreement shall be subject to sole
                                                         verification by Valero that the Milestone has been achieved. Valero shall not be
                                                         entitled to withhold any approval of any application for payment under this
                                                         Agreement if such application for payment is in accordance with the terms of this
                                                         Agreement and payment of the amount shown in such application forpayment is due
                                                         to Contractor pursuant to the terms and provisions of this Agreement.

                                                 (d)     Notwithstanding paragraph (c) above, Valero may withhold any progress payment
                                                         to be made to Contractor in whole or in part and/or may, besanse of subsequently
                                                         discovered evidence or subsequent inspection, nullify all or any part of any progress
                                                         payment previously made to Contractor to the extent reasonably necessary to protect
                                                         Valero from loss because of:


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                                  (i)     defective work and/or work not performed by ContraL'turin accordance with
                                         the TSD, provided that Contractor has been given written notice bYValcro
                                          of such defective and/or nonconforming work and _as failed to remedy such
                                          defective and/or noncortformFng work promptly after being given ",_'itten.
                                          notice by Valero of such defective and/or nonconforming wo.rk; .
')                           .,

                                  (ii)   claims filed or reasonable evldemcc indicating the probable filing Ofsuch
                                         claims by third parties as a result of any act or omission of Contractor for
                                         which Contractor fails or refuses to defend and/or inderrmify Valero as
                                         required l_eretmder,

                                  (iiO   failare of Contractor to make payments properly to subcontractors, laborers       .'   ."
                                         and/or materialmen retained by Contractor, or

                                  (iv)   Contractor's   failure 'to accurately report the progress    of the .Project
                  ••                     Milestones..

     '                            Contractor shall be notified promptly in writing of any and all grounds for tlae"
                                  withholding and/or nullifying of any such progress payment. Valero further
                                  acknowledges and agrees that it shall promptly pay Contractor.all or.such partof such.    .   . ,--.
                                  progress payment so withheld because of such grounds when the grounds for such
     :.                           withholding are removed and there are no further grounds for withholding.


          _l_                 subcontractor, laborer
                              i"/otwithstanding       and/or materialman
                                                 the foregoing,           retained
                                                                 if Contractor  failsby to
                                                                                         Contractor,
                                                                                           make. anyValero shalltonota
                                                                                                     payment                     "
                              be entitled to withhold any progress payment if and to the extent Contractor furnishes
                             Valero with a surety bond issued by an underwriter or surety acceptable to Valero to
                              protect Valero from loss and Contractor furnishes Valero with a signed agreement
                              in a form acceptable to Valero whereby Contractor agrees to indemnify and hold
                              Valero harmless from any and all claims arising out of Contractor's failure toprovide
                              Valero with such releases and/or waivers of lien.

                       (e)     !f Valero should in good faith dispute any amount included in any applicatio6 for
                               progress payment submitted by Contractor, Valero shall within thirty (30) days after
                               receipt of such application for payment, notify Contractor in writing of the general .
                               nature of such dispute and pay in accordance with this Agreement any amount
                               included in such application for payment andnot so disputed. No amounts included
                               in any such appLication for payment shall be considered to be disputed in good faith
                             • by Valero urfless Valero has notified Con_actor of such dispute as set forth above
                               and has paid in accordance with the terms of this Agreement all amounts included in
                               any such application for payment that Valero does not dispute.

                       (0         Contractor shall Continue to proceed with the Work and shall maintain the progress
                                  of the Work in the event that Valero shall dispute any amount included in an
                                  individual Milestone Payment provided that the dispute is a good faith dispute and




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                                •.VaIero Shall, notwithstanding such dispute, continue to perform, in accordance with


    "_                        . the.terms  ofthis Agreement,
                                                   anything to all
                                                                theobligations of forth
                                                                                   Valero not disputed.
                        (g)     Notwithstanding                     contrary set        herein, Contractor shall not be
                             • .requk_l as aCondition precedent to the obligation of Valero to make anypayment,
                            • -including any portion of the final payment, to provide to Valero any r_leme_ and/or      ..
    •                           waivers of lien issued by any. parry retained by, through or.under Contractor in
..                     " "" " connection     with_h¢Work if(i)Contractor        fm'nishes" Valerowith.documentation.
                                clearly ¢s4dencing  that Contractor  hasnopaymentobligations      tosuchparty   relating
      '                _        to the Work; and (ii) at Valero's option(a) Contractor furnishes _ralero mith.a surety
 :"                             bond j_ed by an tmders_t_- or surely acceptable to Valero in proper slatutory form
     :             . -         and amount reasonably satisfactory to protect Valero from loss because of _e
         .                      recording or.filing, or potential recording or filing by such patty of any mechanic's
        • •                     lien 'in respect to the Work; or, Co)Contractor furnishes Valcro with a slgncd
                                agreement in a form acceptable to Vaicro whereby Contractor agrees to indemnify,
                                and holdValero harmless from any and all claims arising out of Contractor's failure
           • , ...              to provide Valero with such releases and/or waivdrs of lien.


              • 8.----Final    Paymenls.-..-:- .........       :........   J ........                        " +' "

                       . (a)     Paym(mt of Milestone #19 Upon Mechanical Completion, Contractor shall submit
                                 to Vai_o an application for payment of_'Alestone # 19 immediately after Mechanical

'                     ..         ycithJn
                                 Completion
                                         thirty
                                              o(30)
                                               fthedaysafter
                                                   Work. PaymentofsuchMilestone
                                                           acceptance
                                                                    by ValerooftheMechanical
                                                                               isdueandpayable
                                                                                            Completion
                                                                                              byValero                      . •"
                                                                                                                              : "
                                 Certificate.                                             • .

                      . Co) ..... Final Payment. Vai_ro's obligation to pay the Final invoice and retainage is               ..
                                  conditioned upon the following:                                                                 " •

                                        (i) Contractor shall make available to Vaiero at Contractor's principal place
                                of business satisfactory evidence reasonably requested by Valcro, reflecting the
                                proper payment by Contractor of all indebtedness incurred for materials, labor and"
                                other work, the cost of which has been included in any application for paymer_t
                                submitted and paid by Valero.                                                         : '

                                        (ii) Subject of Section 7 (g) hereof, .Contractor shall provide to Valero,
                                unconditional releases and waivers ofllen issued by an.parties retained by Contractor
                                in connection   w_ththe Work who have rendered          services,'performed work or
                                furnished   materials,the"cost ofwhichisincluded      inanyapplication    forpayment         .
                                under this Agreement showing that such parties have been pald all amounts, less any
                                applicable retainage, am-ibutable to materials, labor or other work, the cost of which •
                                has been included in any application for payment submitted and paid by Vaiero,




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                                             (iiO Contractor shall provide a waiver of liens issued by Contractor in a form
                                      and substance substantially identical to the final waiver of liens attached as Exhibit
        ,_                            B-4_ " "

                                              (iv) Contractor's completion and Valem's acceptance of all Dmchlist'iterns
:                                     listed in the Mechanical Completion Certificate.

                           (c)      IfValero shall in good faith dispt_te any am0unt included in the final application for
                                    payment submitted by Contractor, Valero shall notify Contractqr in ¢zritingwithin
                                    thirty (30) days after receipt of such final application for payment of the general
                                    nature of such dispute and pay in accordance with this Agreement any amount
                                   included _i the final application for payment and not so disputed..No amotmts
                                    included in the final application for payment shall be considered to be disputed in
                                    good faith by Valero unless Valero has so notified Contractor of such dispute as set
                                   •forth above and has paid in accordance with this Agreement all amounts included in
                                    the final application for payment and not disputed.

                           (d)        All.la=ym_,a;._du= Cu,_.t, tu, t.u_d=_tlfin'A_eernent_hall be mad= to Contractor by -
                                      wire transfer to Contractor's account on or before the date due. Interest shall accrue.
                                      on late payments at tha prime rate as quoted in the Money Rates section of the Wall .......
                                      Street Journal, plus 2*/,. Any payments that are improperly disputed by Valero but
                                      subsequently paid to Contractor shall bear interest at the same rate as set forth in'the
                                      preceding sentence from the date of the dispute until the date paid.

    ,_                9.    /nsurance.

                                    It is intended by the parties that Valero shall provide insurance under the ROCIP
                                 ._program as set forth in Exhibit K. Notwithstanding the existence of the'ROCIP,
                                    Contractor slaall maintain at all times during the term of this Agreement, with an
                                    insurance company acceptable to Valero, the insurance coverages set. forth in A
                                   through D below for Work not covered by the ROCIP, and as set forth in E below for
                                   all Work, with limits not less than those specified_below. Should Valero cancel the
                                   ROCIP, Contractor shall maintain at all times following such cancellation, with an
                                   insurance company aeceptablcto Valero the insurance coverages set for the in A
                                   through D below with limits not less tfian those specified below and Valcro shall
                                   reimburse Contractor for its actual coats in maintaining such insurance.

                           A.     1. Worker's Compensation                    Statutory:. Coverage satisfactory in New Jersey.


                                 2.      Employer's Liability                 $100,000 each accident

                           B.    General Liab!lity Coverage:                  $500,000 Combined Single Limit Bodily Injury
                                 endorsed to cover (i) contractual            and PropertyDamage Combined
             .                   liability assumed uriderthis

    j                        Contract; and(i_ products
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                                                        lish_        and completed


                                                        operations"                                     '
                                                  C.    Automobile Liability Coverage:             $500,000 Combined Single Limit Bodily Injury
                        . •                             _dorsed to cover all owned, non-           and Property Damage Combined
                                                        owned and hired vehicles                                                                              •


                                             DJ          UmbrellaLiability in excess of            $20,000,000 Combined Single Limit Bodily
                                                         A.2.._B & C. Endorsed to                  Injury and Property Damage Combined and in
              '                              :           provide a drop.down                       the aggregate                      ""
                                                         endorsement in the event
                                                       • maderlying limits are exhausted
                        •                                by clalms_ • .
                            • ...."                      .   ,   •     '             .


          •                                       E.    Errors and On_ssions Coverage               $5,000,000




                  _ ___Z__'......                 _PrJor._t_o._eo_encing.any__,Vprk,. Contractor .shall ._rnish yalero with_a .Certificate of                           _.
                                                  •Insurance evidencing that the above minimum coverages are in effect, and replacement"
                                                   certificates shall be furnished for all renewals of such insurance. All policies except'A..l
                                                   above shall be endorsed to name Valem Energy Corporation, its subsidiaries and affiliates,

                                      •"         . and   their directors,
                                                   "Additional  Insureds") officers  arid amployecs
                                                                            as Additional  Insureds (to(hereinat_er  sometimes
                                                                                                        the extent that the loss or referred  to as
                                                                                                                                    claim is related"
                                                   to the Work and due to 'an act or omission of Contractor, its employees, su_.ontraetors,
                  •..                              agents or representatives). All"polici_ aboye shall provide a waiver of subrogation clause
.......                                          _.-in.favor of.the Additional Insureds,--and the eertifieste shall -state-that,all coverages
                                                   provided by the Contractor shall be primary to any insurance carried by Valero foi"its own
                                                   account. Such insurance shall be endorsed with a standard cl'oss liability clause in favor
                                                   of the Additional Insureds. Such insurance shall also cover the actions, of any
                                                   subcontractor that Contractor may utilize Under this Agreement. Further, underwriters of
                                                   such insurance will provide Valero thirty (30) days written notice of cancellation or
                                                   adverse material change, including but not limited toa reduction in limits available to the
                                                   Addiiional Insurcds,-in Contractor's insurance. Any such notice of cancellation shall'not
                                                   be effective for thirty (30) days after receipt by Valero. In the event Contractor fails to
                                                   procure or maintain in rome the insurance specified herein, Valero may secure such
                                                   insurance and the cost th_ecf shall be berne by Contractor.                                     .

                                                  The Parties understand and agree that the purpose of this section is for Contractor to
                                                  provide Valero with insurance coverage as an Additional Insured which will be primary
                                                  to any insurance policy Valero might carry on its on behalf and that such coverage which
                                                  Contractor supplies will respond to losses arising out of any act, Omission, failure to act
                                                  or negligence on the part of any Additional Insured to the extent that the loss or claim is
                                                  related to the Work and due to an act or omission of Contractor, its employees,

                                               subcontractors, agents or representatives.          It is also understood and agreed that this
                                      Paulaboro EPC (Final)                                                                                             I1.




                                      Page 10                                                                                                           ._fl,./1   D"

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•                                  insurance
                                           coverage
                                                  provided
                                                         byContractor
                                                                    shall
                                                                        operate
                                                                              independent
                                                                                        andapart
                                                                                               f_m any
                                   obligations
                                            imp<)sed
                                                   onContractor
                                                             andertheIndernrdty
                                                                             provisions
                                                                                     hnParagraph
                                                                                               13oftlds

_m=_                               Agreement.


                          I0.     ThisSection
                                            10isintcnt_onally.lefl
                                                            blank.

          •               1 I.   Valero°s.Liability
                                                 Insurance.
                                                          Valeroshall
                                                                    be responsible
                                                                                 formaintainingitsown liability
    •                            .insm'ance
                                          and,atitsoption,
                                                        may self
                                                               insureoritmay purchaseandmaintainsuchinsurance
                                 :aswillprotect
                                              itagainst
                                                      claims,
                                                            whichmay arisefromoperationsunderthisConh'act.
    _,.       ,       ,



              ."          12. " Duty,toDefend.Contractor       shall
                                                                   tal<enecessary safety  andotherprecautions  toprot_-'t
    !           •             ' property andpe_onsfi'om     damages,injuries,
                                                                           orillness  arising outoftheperformance oftho
                                Work. At all•tlmes    whileanyofContractor's   employees,   agents,orsubcontractors are
"                               inside the battery limits as shown on the TSD ("ISBL"), Contractor shall be solely
                                responsible for providing them with a safe place of employment, and Contractor shall
                                inspect the places where its employees, agents, or subcontractors are or may be present
                                ] $BL-3in_'-slf_'-p_l_-Iy-t ake_a_tib_vr_                tIonswhlt._v.zr_              e
                           •    an unsafe place of employment for them. ' In the event an incident arises under this
......                    - ..____Agreernen_t__w_h_er_in_V_a!..ct'o_is               ob_|jgat__to_providcVal_em__ajdcfanse
                                                               anc'd_an..dC_n.u'__ct_rjs                                 ...............
                                eitherunderParagraph     9 or13ofthis Agreement,   ConWactorshall   provide orcausetobe
                                providedcompetent'      counselforsaiddefensewithintwo weeks of Valero's        notic¢_
                                                                                                                      to " "
                                Contractor  ofsuchaction.    IntheeventContractor failstoprovide  suchcounsel  within
                                                                                                                    this
                  '             timeperiod,   thenValcromay appoint.its own outside counsel  whichshall  beforCOntractor's
        O                   •   accountuntil   Contractor'substitutes
                                                                    itsown choice  ofcounscl.

                             13;.INDEIVINITY"

                                   (A)CONTRACTOR   AGREES TO INDEMNIFY AND SAVE HARMLESS VALERO,
                      '          ""ITS PRESENT AND FUTURE OFFICERS, DIRECTORS, EMPLOYEES AND
                                   AGENTS, ITS PARENTS, AFFILIATES AND SUBSIDIARIES (COLLECTIVELY                                 !
                                   THE "VALERO PARTIES"), FROM AND AGAINST THAT PORTION. OF ANY"
                                   AND ALL LIABILITIES, PENALTIES, FINES, FORFEITURES, DEMANDS,"     -
                                   CLAIMS, CAUSES OF ACTION, SUITS, AND DIRECT COSTS AND EXPENSES" '
        ..                         INCIDENTAL THERETO (INCLUDING COST OF DEFENSE, SETTLEMENT,        :
                                   AND REASONABLE ATTORNEY'S FEES) (COLLECTIVELY, "CLAIMS"),
                                   WHICH ANY AND ALL OF THEM MAY HEREAFI'ER SUFFER, INCUR, BE
                                   RESPONSIBLE FOR OR PAY OUT AS A RESULT OF BODILY INJURIES
                                   (INCLUDING DEATH) TO ANY PERSON, DAMAGE TO ANY PROPERTY,
                                   CONTAMINATION OF OR ADVERSE EFFECTS ON THE ENVIRONMENT, OR
                                   ANY VIOLATION OR ALLEGED VIOLATION OF STATUTES, ORDINANCES,                                •
                                   ORDERS, RULES OR REGULATIONS OF ANY GOVERNMENTAL ENTITY OR
                                   AGENT, AND WHICH IS DIRECTLY OR INDIRECTLY, AND TO THE EXTENT
                                   THAT IT IS CAUSED BY OR ARISES OUT OF ANY BREACH OF ANY
.                                  WARRANTIES BY CONTRACTOR, OR ANY NEGLIGENT OR WILLFUL ACT

                                OR OMISSION OF CONTRACTOR, ITS EMPLOYEES OR SUBCONTRACTORS
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             • INTHE PERFORMANCE OFTHISAGREEMENT.


               (B) NOTWITHSTANDING ANYTHING IN SUB-SECTION (A) ABO_'E TO THE
               CONTRARY, IN THE EVENT A CLAIM ARISES FROM OR IS CAUSED BY,
               BREACH By CONTRACTOR, ITS EMPLOYEES OR SUBCONTRACTORS OF
               ANY LAW, REGULATION, ORDINANCE, OR RULE OF ANY GOVERNMENTAL
               AUTHORITY HAVING PROPER JURISDICTION OR FROM A VIOLATION OF
               VALERO'S SAFETY GUIDELINES, THEN, TO THE FULLEST EXTENT
               PERMITTED BY LAW AND REGARDLESS OF ANY DEGREE OF FAULT,                           !
               OMISSION OR NEGLIGENCE, STRICT LIABILITY, STRICT PRODUCTS
             LIABILITY,    OR NEGLIGENCE PER SE, OF THE VALERO PARTIES,
               CONTRACTOR" AGREES TO INDEMNIFY AND SAVE HARMLESS THE -
               VALERO PARTIES, FROM AND AGAINST ANY AND ALL CLAIMS UNLESS IT
               IS DETERMINED BY JUDICIAL PROCEEDING THAT THE INJURY, DEATH
               DAMAGE, CONTAMINATION, OR VIOLATION COMPLAINED OF WAS
               ATTRIBUTABLE     SOLELY TO THE NEGLIGENCE OR FAULT" OF AN
               INDEMNIFIED
                    t        PARTY, AND IS NOT IN ANY MANNER, OR IN "ANY PART
               AI                    - I"i'IT_CTOK, ITS-SUB          " ,       ,
             • AGENTS, EMPLOYEES, SERVANTS AND SUPPLIERS OR ANY OTHERTHIRD
            _.pARTIES. THE PARTIF_.SRE_COG_       _,A.ND
                                                       _RSTA.ND TI'LATTHE ___            __.:_
               OF THIS SECTION IS FOR CONTRACTOR TO PROVIDE FULL AND COMPLETE
               INDEMNIFICATION     TO THE VALERO PARTIES-.EVEN THOUGH THE
               INDEMI_IFIED PARTY MAY HAVE BEEN NEGLIGENT, rCEGLIGENTPER SE, OR

            . MAY
              PRODUCTS
                     BE I._!ABLE
                            LIABILITY,
                                 UNDERUNLESS
                                       THEORIES
                                             SUCH
                                                OFNEGLIGENCE
                                                   STRICT LIABILITY
                                                               OR STRICT
                                                                     AND/OR
                                                                         LIABILITY
                                                                            STRICT
              WAS THE SOLE CAUSE OF THE INJURY OR DAMAGE TO THE EXCLUSION OF
              ANY OTHER CAUSE. TH_ OBLIGATION FOR INDEMNITY PROVIDEDFOR
              UNDER THIS SECTION IS INDEPENDENT OF ANY PROTECTION PROVIDED
              VALERO U_DER ARTICLE S OF THIS AGREEMENT.             CONTRACTOR'S
              INDEMNI'IT OBLIGATION UNDER TH_S PROVISION SHALL NOT EXCEED THE
              AMOUNT RECOVERABLE UNDER THE INSURANCE DESCRIBED IN ARTICLE
              5 OF THIS AGREEMENT, OR AMOUNTS THAT WOULD HAVE BEEN
              RECOVERABLE        UNDER SUCH INSURANCE (I) BUT FOR PROVIsIoNs,
              EXCLUSIONS OR RIDERS DENYING OR LIMITING COVERAGE THAT ARE
              INVOKED, TRIGGERED OR RELIED UPON BY THE INSURER DUE TO ANY
              NEGLIGENCE, GROSS NEGLIGENCE, CONDUCT CONSTI_G               MASACE,
              WILLFUL MJSCONDUCT, INTENTIONAL,          ILLEGAL OR FRAUDULANT
              CONDUCT, ACT OR OMISSION OF CONTRACTOR                 (OTHER THAN
              INTENTIONAL CONDUCT THAT IS REQUIRED BY THE SCOPE OF WORK); OR
              (II) IF CONTRACTOR FAILS TO PROVIDE AND MAINTAIN INSURANCES IN
              ACCORDANCE        WITH ARTICLE 5 OF THIS AGREEMENT; PROVIDED,
              HOWEVER, CONTRACTOR'S AGGREGATE LIABILITY UNDER THIS SUB-
              SECTION 13(B) SHALL BE LIMITED TO $5,000,000, AND THE AMOUNT OF ANY
              LOSS OR LIABILITY ABOVE SUCH LIMITS SHALL BE ALLOCATED IN
              ACCORDANCE WITH SUB-SECTION 13(A) ABOVE.


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                                    (C)THE OBLIGATIONS OF THE PARTIES DESCRIBED ABOVE SHALL NOT BE
                                    LIMITED IN ANY WAY BY ANY LIMITATIONON THE TYPE OF DAMAGES,

                                    COMPENSATION    OR BENEFITSACTSi
                                                                 PAYABLE   UNDERBENEFITS,
                                                                                   WORKER'S  OR
                                    WO_N'S       COMPENSATION        DISABILITY           OTHER
                                    EMPLOYEE BENEFIT ACTS OR MINIMUM INSURANCE LIMITS SET FORTH
                                    IN THIS AGREEMENT.   :

        • • . ,'                    NOstatUte, rule, or regulation that precludes an injured party from bringing an actionagainst
    •                             - a fellow employee or employer shall preclude the Valero Parties from seeking and obtaining
•              "                   :a judicial determination of the fault or negligence of such persons" for purposes of this
                                    section.

                        14.       " Independent Contractor.In the performance of Work under this Agreement, Contractorshall
                   '•               at all times be an independent conU:actor,and.the relationship of the Parties hereunder shall
                                    in no evenS be construed as constituting any other relationship. Neither ConWactqr nor.
• •"                    '           anyone employed.or 6ngaged by it shaI1be, reptz,'sent,act, purport to act, or be deemed to be
                                    the agent, representative, employee or servant.of Valeg'o,'nor shall Contractor or anyone
                                    employed or engaged by i+be Lre_at_o_ee                 ofVal=ro fo, _y'_Y_'_'_'iq_m_
                                    tax and social security coverage and withholding, or any Valcro provided employee benefits.
                                    Contractor  shaILhave  responsibility
                                                                        forandcontrol   overthedetails  andmeansforperforming
                                    theWork,provided      thatContractor  isincompliance     withthetermsofthisAgreement.
                                    Anything in this Ag_m_nt which may appear to give Valem the right to direct ContraEtor
                                    astothedetails    oftheperformance    oftheWork ortocxemiseameasureofcontrol             over
                                    Contractor,   shall mean thatConU'actor   shallfollowthedesires     ofValeroonlyastOthe "
         .._                        intended results of the'Work. The Work specified in this Agreement is subject'to Valero's'
                                  • inspection and spproval, and all refinery specifications, scheduling requirements and safe_
                                    and security regulations.

                            15.     Representatives. Valem shall designate one of its employees to act as Valero's repr_entative,
                                  • who shall have limited authority to act for Valero; provided, however, such representative
                                    Shall not have authority (i) to alter, amend, modify or change the terms of this Agreement;
                                    (it) to bind Valero to any commilmants beyond those set forth herein; or (iii) to execute
                                    Change Orders. The Valero representative may from time to time through Conu-actor give
                                    advice as to the methods by which the Work is accomplished in order to safeguard the
                                    operation of Valero's facilities and insure that the Work conforms to the requirements of the
                                    AgrecmenL Compliance by the Contractor, subcontractor or any employee with the
           •                        recommendation of Valero's representatiye shall not release the Contractor from the
                                    obligations assumed by the Cona'actor under this Agreement.

                                    Contractor shall assign to the Work a project representative who shall be respons_le for the
                                    project supervision and have the authority to act for Contractor. The designated project
                                    representative shall not be removed without the mutual consent of the Valero and Contractor,
                                    and shall be in attendance at the project site during Contractor's Working hours. Contractor
                                    shall advise Valero in writing of the name, address, and telephone number (day and night)
                                    of such designated project representative and of any change in such designation




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                                                                                                                                    t'/w
                                                                                                             VAL 002898
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                 16.        Quality and Inspection of Work.

            ]}   16.1 Desi and                       S ic,,: Contractor
                                                                   w - ts thatitwillperform
                                                                                          itsdcsiwand
                            engineering services in accordance with the standards of ca.,TOand diligence normally
                            practiced by .recognized engineering firms in performing services of a similar nature.
                            Furthermore, Contractoi:warrants that i! has experience and capability including competent
                            management and other personnel to perform the Work in order to satisfy the professional
                            warranty standard as stated above. If during the one (1) year period following Mechanic_.l
                            Completion, it is discovered that thosc standards have not been met, and Valero has notified
                            Contractor_inwriting of such failure, Contractor shali perform, at its c6st, such corrective
                            home office design and engineering services and fieIdconstruction or reconstruction as may
                            be necessary, within the original scope of the Work to remedy such deficiency. In _idditibn,
                            Contractorwarrants that the new equipment supplied for the Naphtha Hydrotreater and its
        :                   Stripper will bc hydraulically capable of the basis throughput of 28,500 BPSD v)hen tested
                            in accordance with Contractor's instructions as set forth In Exhibit L attached hereto
                           •Contractor's liability for the subject new eqffipment's failure to achieve said hydraulic
                            condition shall be determined by good faith negotiations between Valero and Contractor but
                            in no eventshall exceedthe costto replacethesubjectequipment.

-                "16.2      FabricatedEquipmetit and Field Construction: Subject to Section 16.3, Contractorwarrants ......
                            that all equipment,'materials and Work, will be (!) of good quality and free from defects in "               '
                            materials and workmanship and all Work shall be performed in a good, safe "and
    •                       workmanlike manner, (ii) in compliance with the specifications set forth in the TSD; and,.
                                                                                                                           ....




                           (iii) delivered
                           Mechanical      free of allorliens
                                         Completion            or claims
                                                          eighteen        of any nature
                                                                     (18) months        for a period
                                                                                 from shipment,      of one datd
                                                                                                 whichever  (1)),ear   f_m " "
                                                                                                                  is earlier.
                           If,duringthewarranty       perinddescribed     above Contractor's   w_._anty hasnotbeenmet,
                           Contractor,   atitssoleoptiod,     shallrepair   (subjecttoprocedures    approvedby Valcroin
                         .....
                           Writing)  orreplae-e:s_a-c_-def&'tive   materials orequii)meht  _ iiocosttONalerb,     up tothe
                           agg_dgat¢   limitofContractor's    liabilitydescribe.dh_rcin;provided,  however, indetL'rmining
                           Contractor's   expenses  relative  totheaggregate    limitofContractor's  liability,
                                                                                                             anymounts
                           recovered   fromoriginal   equipment    manufacturers,  subcontractors  and/orsuppliers  that•Are
                           related  tothewarranty    claimshall    notbeincluded   inContractor's   expenses."Contractor's    .
                           warranty shall not extend to Work, which became defective as a result of improper operation
                           or maintenance, corrosion or erosion due to improper operation or maintenance, or operating
                           conditions substantially more severe than those contemplated in the original design. The
                           Work shall at all times be subject to ValoroUsinspection and approval, but neither Valero's"
                           inspection nor failure to inspect shall relieve Contractor of any obligation hereunder. If in
                           Valem's opinion any article, material or Work, except those described in Section 16.3, fails
                           to conform to specifications or is otherwise defective Orunsatisfactory as a result of failure
                           on the part of Contractor or Contractor's subcontractors or personnel during performance of
                           the Work to act and proceed in accordance with normal industry practices and procedures for
                           similar jobs or projects, such repair or replacement shall be at Contractor's expense. THE
                           ACCEPTANCE OR PAYMENT BY VALERO SHALL NOT CONSTITUTE A WAIVER
                           OF THE FOREGOING.


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                   i 6.3      Third-Part_ MaterialsandEquipment:If Conffacto_"        suppliesanyspecially designedor
" L'                         , fabricated materials or equipment hereunder which are purchased on Valero's behalf fi'om
  'qF                         third-partles to this Agreement, Contractor shall secure or cause its subcontractors to
                               sect*m, for thcbenefit of Valcm, guarantees frOm such third-party vendors, subcontractors
                               and/or suppliers with respect to the materials and equipment manufactured or furnished
                              by them.Such third-party    guarantees  shallbeequivalent  tothosedascribcd   inSection...
                               16.2aboveforequipment      tobcsupplied   byContractor,  provided  however,thatifan
                            ..equivalent,  orbetter, guarantee cannotbenegotiated    withthethlrd-pm'ty  vendor,
                            •Contractor    shallsonotify  Valcro,  andValeroshall   havetheoption   toeither: (i)
                                                                                                                acceptthe
        •                     guarantee   asnegotiated  byConh-act0r,  or(ii) require Contractortoattempt   tosecure  a.
                               guarantee  effective foraperiod  oftimeacceptable    toValer0"by payinganadditional
                           ' amounttothethird-party      vendor,  suchamounttobcanaddition       totheContract   Price.
                              Contractor   willuseits bestefforts  shortoflitigation toenforce suchguarantees    or"
                                                                                                                   provide•
                              thebenefits   ofthesametoValcro,      including, ifrequested byVal='o,  acting asValero's
                              agcntintheenfomementofsuchguarantees.            ConU'aetor, shall,
                                                                                                atitscost, supervise  any                  ..
                              repairs pursuant to the guarantees referred to in.this Seetidn.                                              . ..,

                   16.4      LIMITATIONS: ALL WARR.A.NTIES OF ANY NATURE NI_E BY CONTRACTOR
              . =-- ....     IN-CONNECT/ON-WiTH THE WORK ARE LIMITEDTO_THOSE SETEORTH IN TH/S ......
                             ARTICLE 16. CONTRACTOR DISCLAIMS ALL STATUTORY, ORAL, OR IMPLIED.
        - "                  WARRANTIES, INCLUDING WARRANTIES oF MERCHANTABRSI'Y AND.FITNESS                                                ...
                             FOR A PARTICULAR PURPOSE, AND WARRANTIES ARISING FROM COURSE OF

  O                      DEALIN G OR TRADE USAGE.
                  16.5 ' EXCLUSIVE REMEDIES.    THE REMEDIES FOR BREACH OF WARRANTY
                         PROVIDED UNDER THIS ARTICLE 16 AKE EXCLUSIVE AND ARE IN LIEU OF ALL
                         OTHER REMEDIES FOR BREACH OF WAtLRANTY WHICH MAY BE OR BECOME
                         AVAILABLE TO EITHER PARTY TO THIS AGREEMENT AT LAW OR IN EQUITY.

                  17.        Respor_i!ity for Work. Notwithstanding anything in this Agreement to the contrary, Valero           . .
                             may, at its sole discretion, elect to insure the Work under a builder's risk policy..Regardless
                             of whether, Valero elects to so insure th¢ Work, prior tOWritten acceptance of the Work by.
                             Valero, all risks to the Work that are not normally covered under a typical "Builder's Risk" •
                             policy, shall remain the r/sk of Contractor. To the extent not covered under a typical          :
                             "Builder's Risk" policy, Contractor shall be responsible for all loss, deterioration, damage                  . .
                             or destruction and shall repair, renew and make good at its own expense, all such loss,
                             damage or destruction however caused except to the extent such loss, damage or desta'uetion
                             is caused by Valero or its subeonti'actors.

                  i 8.       Tools and Equipment. Contractor shall be solely responsible for tools, equipment and other
                             personal property owned; rented or leased by Contractor or any of its employees which arc- •
                             not to be incorporated in the Work. All tools and equipment will be in a safe and operable                .
                             condition prior to use in the performance of Work at a Valero facility. Va]ero reserves the
                             right to inspect or reject any unsafe tools, equipment or conditions.


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                                                                                                                               ___



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                                   Valcro from _     m time may provide to Contractor certain tools,.mfay equipment and other
                                   equipment owned or rented by Valero (hereinafter called "Tools and .Equipment").
      j                                             •
                                   Contractor understan_ and agrees that Valem provides such Tools and Equipment on an "as
                                   is and where is " basis. Contractor shall perform any and all teats and checks it deems
                                   nec_mry to ensure the proper and safe functioning and use of the Tools and Equipment for"
 :                                "the use intended, by Contractor. CONTRACrOR EXPRESSLY ASSUMES ANY AND
                                   ALL LIABILITY ARISING FROM OR OUT OF ITS USE OF SUCH TOOLS ..AND. "
                                   EQI.IIPMI_rr AND St-IALL FLg...L¥IND_              AND DEFENDVAI.,ERO FROM ANY
                                   LOSS OR COST ARISING FROM SUCH USE AS PROVIDED IN PARAGRAPH 11tOF
                                   THIS AGREEMENT. All such transfers ofese shall be in writing to Contractor's seni0r job
                                  •supcrv'isor. Contractor assumes full care, custody and responsibility and agrees to return the
                                   Tools and Equipraent to Valero in good working t)-rder(or if not delivered to Contractorin
                                   good working order, then in the condition delivered to Contractor), normal wear and tear
           "                       excepted. In the event of loss, theft or damage of any ToQls and Equipment) Contractor will
                                 • replace orrepair the Tools and Equipment at Contractors expense, or reimburse Valcro for :
                                 • their replacement or repair cost at Valero's option. Title to any Tools or Equipment replaced
                                   by Contractor pursuant to the provisions hereof (i.e., the new tools or equipment) shall be
                                   h_,_,    _u Lv v,uc_v _md tltlc-tu _,v d_cd      Tuo]_ u__ed                     (i._., th_ old"
                                   tools or equipment ) shall be transferred to Contractor.

---        "            19. - -'11_isSection 19 is intentionally 1oRblank.                                                              ' .

       '                20.        Use and Protection of Work and Property. Contractor shall perform all Work in" such a
               •                   ma.,m_ as to cause minimttm inter'ferencc with the operations of Valero and of other
       _I_                         contractors on the premises, and shall take, and cause Contractor's and its subconh'acto_s"
      •..                          cmployess, agents, and licensees to take reasonably necessary precantions, including those
                                   required by Valero's safety and security regulations and with Valcro's substanee-abt_scpolicy, .
                                  ,-to protect the Work and-the premises and all persons and property thereon from damage Or. •
                                   injury. Cont_acto( shall employ for Work hereunder workers who'pnsses._ the necessary
                                   qualifications to perform their Work and who are over the age of eighteen. Contractor shall
                                   maintain good order among its employees and those of its subcontractors, shall advise and
                                   make its o'nployees aware of Valem's safety, security and substance abuse policies, and shall
                                   confine its employees to such Work area, roadsand gates as directed by Valero. Contractor,
                                   its employees or subcontractors shall abide by Valero's Security Regulations attached as
                                   Exhibit H. Upon completion of the Work, Con_'act0r shall leave premises clean and free of
                                •" all equipment) waste materials and rubbish.

                                  Valaro has instituted and maintains an ongoing substance abuse control program at its
                                  refinery fsci]ity which program shall apply to Contractor and its subcontractors. Conh'actor
                   ..........     acknowledges receipt Valero's substance abuse control policy. C0n_actor a_-ess that it shall
                                  advise its employees and subcontractors that they shall be subject to the provisions of
                                  Valero's substance abuse control policy, including drug testing involving hair sampling
                                  and/or urinalysis. Valero requires Contractor to implement its own drug control policy for
                                  its empI0yees and subcontractors assigned to perform Work at any Valcro facility.



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                                                                                                         VAL 002901
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                   21..         Safety and.Environment: It is understood _d agreed between the Parties that Valero's
                                refinery safety piogram requires training of all persons engaged in Work on the refinery site
                                in  safeh-'ainingof
                                         Work requirements     andconsisting
                                                                   safety awareness.    Contractor  agreesrequirements
                                                                                                            that it shall included
                                                                                                                           conduct
                                safety              its employees            of a minimum   of the safety
                               -in Valero's. pr6-eontract safety meeting and those specified in Valero's contractor safety
                                requirementsattached as Exhibit E which minimum training shall be completed for each
                                employee prior to Contractor's bringing any suchemployee(s) to Valero's refinery'site to
                                engage in Work under thisAgreement. To evidence compliance with Valero's minimum
                                safety training reqnire_nents, Contractor shall certify in writing to Valero that each employee
                              : (iden.titied by name and skill) assigned by Contractor to Valero's .Work has completed
                                Contractor Safety Council training (ev_lenced by a badge) and Valer0's minimum safety "              '" "
                          '     training. Contra-'torwill also conduct its own safety training in aCCordancewith Contractor's '" ,' •
                                policy for safety in the. work fume, and hold weekly safety meetings for its employees during
                                the c°nthauance of Work hereunder.

                      •         In •addition to other fights of Valero, under this Agreement, Val_ro shall retain the right tO
               • ..             request Contractor to remove from the refinery site, and from Valero's Work, any employ_
                                _h-_es_'afetyu'eq_d/or;-in'tfi_ote-op_lerrg-,-,-,-,-,-,-,-_mpardizes-_c                 naf_y
'.                              oflfimself or others.
                                                                                                         __--,_        ........................

          •"                    Contractor agrees to arrange for recovery and collection of all solid and hazardous wastes
                               .generated in performance of the Work (including but not linfited to: paint residues, solv6ats,
                               sand blasting dust, etc.); and shall arrange for proper transportatioii _d disposal of such                        • "-

                                hazardous wastes
                                regulations issued in accordance
                                                    pursuant      withacts;
                                                             to those   the and
                                                                            federal
                                                                                any and
                                                                                    otherstate •Solid Waste
                                                                                           applicable        Disposal
                                                                                                       statutes        Acts and
                                                                                                                or regulations."

                                 Contractor Employee Training and Safe Workplace Practices: Contractor acknowledges its
               •               ._luty-to.Iraln its Employees-in.safe.workplace    practices' and to inform its Emp!oyees of
                                 specific hazards associated with the Work it has undertaken to perform for Valero.
          ..                  . Contractor warrants that it has trained and wi!l c0ntinue to train its Employees in safe
                                 workplase practices and has informed and on an ongoing basis will continue to inform its
                                 Employees of hazards associated with the Work. Contractor further acknowledges that its
                                 continued compliance with the warranties of this paragraph m'e m integral part of
                                 Contractor's satisfactory performance under this Agreement. Contractor recognizes that
                                 Valero will periodically evaluate the Employee's training and the hazard communication                           : - _•
                                 provided by Contractor and that such evaluation may inc)ude observation of Contractor's
                                 Employees to verify that Contractor is fulfilling this warranty and that Contractor's
                                 Employees are u_iliz/ng safe workplace practices appropriate to the hazards asSoCiatedwith
                                 the Work. Should Valero find Contractor's Employee training, its communication of hazards
                                 associated with the Work, or contractor's safe workplace practices deficient, Valem reserves
                                 the right bat not the obligation to advise Contractor's Representative of the deficiency and
                                 Contractor shall promptly coordinate with its site safety representative and undertake
                                 appropriate corrective measure. Contractor shall promptly thereaft_ report the measure(s)
                                 taken and the outcome of these measures to Valero's Representative and Safety Department
                                 and invite Valero's observation of its Employees' workplace practices subsequent to the

     ,_                   corrective measures undertaken. Should the corrective measures undertaken by Contractor
                   Paulsboro EPC (Final)                                                                                                          _,.n_ "/
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                                                                                                     VAL 002902
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                                  to remedythe deficiency,Vaiero reservesthe fight but not the obligation to requ/re
                               Conmetor to suspend the Work until the deficiency is remedied'and appropriate safe

_,_                            wqrlq)lac_ practices are restored or implcmanted. Contractoi" specifically affirms that
                               Valcro's  observationoforfailure  toobserve   anyunsafe  workplace  practicesofits.Employees
           •       -           will not flimirdsh Contractor's duty to ensure a safe workplace for its Employees nor _msfcr
                               that duty to Valcro. Contractor's failure to satisfy this warranty will subject Con_antor to
                               forfeiture of Work assigned t0.Contractor under this Agreement, or termination of this
                               Agreementin it's entirety..

                               :Notwithstanding the foregoing, Valcro expresslyreserves the right to immediately cancel this
                                Agrecmcm with Contractor and remove Contractor, its employees, agunts, and/or
               •             . subcontractors from _e refm_'cysite, if in the sole opinion of Valcro, a Contractor, any of
                                its employees, agents, and/orsubconWactorsare in violation of any safety requirements, rules,
                                regulatiom, and/or safety-related permits which, in the sole opinion of Valcro, jeopardizes
                                the safety  ofhimself    orothm's; orcreates anunreasonable   riskofinjury.    Beforecancelling
                                this'Agreement,    Vale.fo  may,butisnotrequired   underanyprovisions      ofthis Agreement,   to
      •                         first notify Contractor of any unsafe condition acd give Contractor an opportunity to correct
                                _      p_i6i _o.-.,._,cisir_gih ,;ght-m-_les-th/s3mragraph_nd-Paragrap_er;-V_cro
                                expta:ssIyreserves the right to terminate a Contractor if'Valcco's failure to do so could'expose
      ..                        Valcro to claims and/or liabilip/relative to state find federal safety and/or henlth rules and
               •                r_gulations.

                       22.     l_crmi_s andLie_ses.   Any permits,   licenses andauthorizations  necessary fortheconstruction
                                oftheWork andrequired      tobeobtained      fromanygovernmental     authority, otherthanthe
                                building permit, and Coritractor'scontractors licanse for the appropriate jurisdicti0n, shall"
                               be secui'ed and paid for by Valero. It sh.all be the responsibility of Contractor to obtain the
                              •building permit and to make cmain that the Work complies with all applicable building
                             .-codes and all buLk and. dimensional, requirements set forth in any applicable zoning
                               ordinances; provided, however, that it shall be the responsibility of Valcro, and not of
                              • Contractor, to make certain that the facility described in the TSD will be allowed be used for
                               the purpose intended in the zoning district in which the facility is situated. Contractor shall
                               familiarize itself with all surveys, road, railroad, drainage, or other necessary permits
                               (including anvirortmontal and Coast Guard rales) procured by Valcro, and shall comply with
                               all requirements thereof in any way relative to the performance of the Work. Contractor shall
                               procure all hauling and other operating permits and licenses required by public authorities
                               to be in Contractor's name, pay all charges and fees, and give all notices necessary and
                               incidcmtothedueandlawful        prosecution    oftheWork.

                       23.    Compliance  WithLaws.Contractor      shallgiveallnotices  andcomplywithallapplicable      laws,
                              ordinances, rules,regulations  andorders   ofanypublicanthority     bea.,-ing
                                                                                                          onthel_'formance
                              of the Work including, if applicable, those lis_ed on Exhibit I attached hcrclo. Without in any       '"
                              way limiting the responsibillt/es of ConU-actur set forth above, if the Work or the TSD are
                              al variance in any respect with any such laws, ordinances, rules, regulations or orders,
                              Contractor shall promptly notify Vaiero in writing and shall promptly modify the Work
                              and/or the TSD so that the Work and the TSD will be in compliance with such laws,

J                             ordinances, rules, regulations and orders, it being Specifically understood (a) that the TSD
                       Panlsboro EPC (Final)                                                                               .,_'/
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                                                                                                    VAL 002903
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                         Price, and the TSD Terra shall not be adjusted for or _n respect to any such variances unless
                         the Work and/orthe TSD are requiredto be modified as aresult of a change in such laws,
    ._                  ordinance.s, roles, regulations or orders occurring after execution of this Agreement and Co)
                        that if the Work and/or the TSD are required to be modified as a result of a change in such
                        laws, ordinaneea,rules, regulations or orders occurd..ngafter execution of the applicable TSD,
                        the TSD Price and the TSD Term shall be equitably adjusted in accordance with paragraph
                        25 upon claim made byContractor to Valero as set forth in paragraph 25. If Contractor
                        performs any Work contrmy to such laws, ordinances, roles, regulations or orders Contractor
                        shall assume fi_ll responsibility therefor and Shall bear all costs attributable thereto.
                        Contractor agrees to indcrnsify and hold Valero, its officers, agents and en_ploy_s ha.mfless
                       •from and agalnsLany and all claims or liabilities from or based Upon Contractor's (as used,
                        the term "Contractor" shaU include Contractor's dmployees, agents, and subcontractors)
                        violation of any such laws, ordinances, regulations, ordo's, permits or decrees. Contractor
                        agrees to comply with all applicable EEO laws and regulations including the provisions of
                        41 C.F.R. 60-1A(a), 41 C.F.R.. 60-250.5(a) and 41 C.F.R. 60-741.5(a).

                 24.     Concealed and Unknown Conditions.

                         (a)    Should concealed and/or unknown conditions be encountered in the p_'formance of
     .   ........               th_ W.ork.below_the _ffa_e .Qf the ground_or should _¢.oncealcdand/or_unknown __...... i.........
                                conditions in an existing sU-acturebe at variance with the conditions indicate_ by the
•                               TSD, or other information furnished by Vale¢o or should concealed and/or unknown
                                physical conditions below the surface of the ground or concealed and/or unknown

                                those ordinarily
                                conditions  in an encountered
                                                  existing structure
                                                                and genially
                                                                     of an unusual
                                                                              recognized
                                                                                    nature,asdiffering
                                                                                              inherent materiany
                                                                                                        ih .work offrom
                                                                                                                     the
                                character provided for in the applicable TSD, be encour/tered,tiie TSD Price, and the
                                TSD Term shall be equitably adjusted in accordance with paragraph 25 upon claim
                                within a reasonable time after the first observance of such conditions.                              ""

                       "CO)'    The term "concealed and/or unknown" as used in paragraph 24(a) in respect to any
                                specific condition shall mean (i} that the actual presence of such specific condition
                                could not prior to the date of this Agreement, be viewed by Contractor by means of
                                a field inspection of the site of the Work, (ii) that Contractor ,/t_ not, prior to ih©
                                date of this Agreement, aware of the actual presence of such specific condition and
                                (iii) that Contractor could not. in accordance with generally-accepted engineering
                                standards and practices and based upon information available to Contractur.priot to
                                the date of this Agreement, have reasonably foreseen the actual presence of such
                                specific condition. To the extent that Contractor was,"prior to the date of this
                                Agreement. aware of or could, in accordance with geaerally-accspted engine_'ring
                                standards and practices and based upon information available to Contractor prior to
                                the date of this Agreement, have reasonably foreseen the actual presence of any                      ""
                                specific condition below the surface of the ground or in an existing structure, such
                                specific condition shaU not bc considered to be a concealed and/0r Unknown
                                condition. To the extent that Contractor was, prior to the date of this Agreement,
                                aware of or could, in accordance with generally-accepted engineering standards and

                               practices and based upon information available to Con_actor prior to the date of this

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                         ..             . Agree'hint, have tassonably furescen the actual pre_em:e of any specific c_ndidon
                                          .below the surface of the ground or in an existing structure based upon the report
    •. "_                                  given by Valcro to Contractor prior to the date of this A_e.ement and mentioned in
                                           paragraph 24(a), such specific condition shall not be deemed to be a concealed and/or
                                           unknown condition.

                "    " 25.         Claims and Extensions. If Contractor claims that any instruction provided by vaJero and/or
            •                      anyact or omission of Valem or of any employee, agent or represeatativc of Valcro, involves
                                   cxUa coat rod/or that, in accordance with paragraph 23, any change has occurred after                             :
.:.                              : execution of the .applicable TSD in applicable laws, ordinances, nfles,-regulations or orders         .. •
                                   of any public authority having jurisdiction over the Work, and/or that, in accordance with               "
"               ."                 paragraphs 24(a) and 24(b), concealed and/or unknown conditions have been cncountcr_l,
                                   Contractor shall give y,Tittennodce and explanation thereof within ten (10) days after _e
    :                              receipt of such instructions, the occurrence of such act or omission, the learning about the
                                   effect of inch change and/or the incurring of such expenses and/or costs and, provided that
            •'                     such claim is reasonable and supported by clear evidence such claim shall be treated as a
            •...                   change in the Work.for which the TSD Price an.dthe Project Schedule (including the Project
                     •            Dr.:c C_rtai_shatt-bc_lnitably_djuslcd:-Not'withsmndin_O-fiac-contrary_ct-for                th
                                  herein, the TSD Price shall not bc increased, and the Project Schedule (including th¢._ Project
                                  Date Certain) shall not be extended, if and to the dxtent that such increase or extension shall
                                 -b-_ttri__i'-or                  omission of Contractor and/or any party retained by, through
                                  or under Contractor in connection with the Work

                      26.             intellectual Property. Contractor shall indemifify, defend and held Valero, its parent,
        J             "'              subsidiaries; a_liates and their directors, officers and employees (collectively," the "Valero"
                                   : parties") harmless with respect to any claim, demand, suit or proceeding brouglat against the "
                                      Valero Pgrtles based on a claim that design, engineering, materials or services, or any part
                              ..... thereof, furnished by Contractor .or .Contractor's subcontrac(ors under, rids Agreement ""
                                      constitutes an infringement or a contributory infringement, willful or otherwise, of any
                                •' patent, copyright, trade secret or other proprietary right of any third party. Valero shall notify
                                      Contractor immediately of any claim that. any information provided pursuant to this
                                     Agreement has been provided in violation of this paragraph. Provided that Valero has
                                     afforded Contractor the notice required hereby, Contractor' shall provide a defense and
                                     competent counsel on behalf of the Valero Parties and shall assume the responsibility to pay"
                                     all costs, to include such reasonable.attorney fees, of defending such claim, demand, suits
                                    or proceeding and any damages that may be awarded therein against the Valero Parties. If
                              > the materials purchased or services rendered hereunder, or any part theren_ are in such claim,
                                     demand, suit or proceeding held to constitute infringement of any patent, copyright or other
                                     proprietary right of any third party and the use thereof is enjoined, or the settlement made
                                     requires the use of services or materials purchased hereunder to be discontinued, Contractor
                                     shall, at its own expenses, and at its opt!on, either procure for Valero the right to continue             ""
                                  " •using such materials or services, replace the same with non-infringing materials which
                                     conform to the available specifications or modify such materials or services in a manner
                                     acceptable to Valero so it becomes non-infringing.



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                   Valero hereby r_ptesent$, warrants, and cov_ant.s that all specifications, drawings,
                   schematics,specificatiuns,plans,
                                                  techrdcalinformation,Marks,orotherinformation    (the

                    "Intellectual Properi'y")
                    exclusive property        provided
                                         of Val_"o     (or tobeen
                                                    or have   be provided) by Valero
                                                                  made available      to Contractor
                                                                                   to Valero        am the sole
                                                                                             under suitable     and
                                                                                                            ]icanse
                    or other agreement to use The provision of such information by Valero will not infringe on
                    or otherwise violate any third party's rights, if any, in and to such information. Contractor
                    shall notify Valero immediately of any ell'dinthat any information prov'ided pursuant to this
                    Agreement has bccn provided in ",dolafionof this paragraph. Provided that Contractorhas
                    afforded Valem the notice required hereby, valero shall provide a defense and compaant
                    counsel on behalf of Contractor and shall assume the responsibility to pay all costs, to
                  • include  suchreasonable    a_;torneyfees, ofdefending  suchclaim,  demand,suits  or'procending
                    andanydamagesthatmay beawardedtherein             against theContractor.   Further,Valeroshall
•'                  indernnify,  defend,and holdharmlessContractor          fromallclaims,     damages,expenses,
 •                  resulting from a violation of this paragraph, and shall reimburse Contractor fully for any
                    damages or other payments that Contractor shall be obligated tO pay as result of Valero's
                 " breach of this paragraph.

           27.     'In'formation furnish-e-d-
                                           b_Wa ret'o-a_d_rtbTm'a__                                 eeraent.

                 •. A.    _Conlraetor agrees that information furnished by.y_lcm to Contractor and;m_f__ormation ..............
                           developed hereunder, including any drawings and designs, is the personal property               ".
                           of Valero, and such information shall not be divulged by Contractor to an.other o'rbe
                           used in any way by Contractor or pursuant to a contract or undertaking With any .

,_..                       p.erson except Valero, provided that the foregoing restrictions do not apply:."
                           1.      Information which at the time Ofits disclosure or development hereunder is, • • •
                                   orwhichthereafter  becomesother    thanbyactoromission    ofContractor, part.
                                   ofthepublic  domain.

                           2.      Information  whichContractor      canshowwas in Contractor's   possession in
                                   tang_'bleform at the time of disclosure or development hereunder and was not.             '
                                   acquired, directly or indirectly, fi'om Valero.

                           3.    • Information which was received by Contractor after the time of dlsclosuro by
                                   Valero Or development hereunder from a third party who has a lawful right
                                   to disclose it to Contractor and who did not require Contractor to hold it in
                                   ednfidance.

                   B.     The originals of all drawings, calculations, etc., used or developed hereandes shall          •"
                          be provided to Valcro, provided that Conlractor may retain one copy for its files. The
                          expense of Contractor's copy is considered part of the cost of theWork. Con_actor
                          hereby disclaims any and all liability arising from the use of any,drawings, plans,
                          specifications or calculations developed hereunder at any facility other than Valero's
                          Paulsboro refinery or Valero's Texas City refinery and Valero shall indemnify and
                          hold Contractor harmless from any and all damages resulting from such use.


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                            C.      Contmcf6r will not, without the prior written consent of Valero, use Valero's name
        '                         . in connection with any publicity, release, advertisement or other publication.
     3
             •     28.      Information Furnished by the Contractornot Developed under this A6eement. Contractor
                            may disclose to Valero information of aconfidential nature and all information disclosed to
        -"                  Valero by Conlzactor under this Agreement shall be deemed to be nonconfidential unless
   •,                       marked confidential by Contractor. Contractor warrants that the possessinn, use and/or          "
                            disclosure .by Valcro of any information received from Contractor shall not violate the
.'...                       prdprietary fights ofanythirdparty. Ifbasedonits  possession, useand/or  disclosu_  ofsuch
      -_                    information Valero is charged with misuse of any such proprietaryrights of any third party,
     •"                      ConWaclorshallindemnify,    defendandholdValeroharmlessfromanymd allcosts,
                             expenses(including   withoutlimitation  legalexpenses),   damages,losses,    liabilitiesor
                            judgments.        -"

                   29.              Contractorshall maintain
                            Audi_......At.                    complete andtLccuraterecords inaccordance    withgenerally
                            accepted accounting principles to substanfiatLall_charge_ her_u,_rl_e mr_rl)-e V-_I'ify
                            Contractor's work progress and OSHA compliance (coUectively "Audit lhnposes").
                            Contractor's records relating to the Audit Purposes, which shall include but not be limited
.........                   tofaccguntingrenords;wfitten-policies/md-proc'edm'¢S._b_on_t-filcs-(ifi'61_-di_g prop_ials"
                            of successful and unsuccessful bidders), original estimates, estimating worksheets,
                            ¢arrespondencc, change order files (including documentation covering negotiated
                            settlements), and any 6ther suppordng evidence.necessary to substantiate charges related to

      _._           ....
                     .   inspection and subject
                         this Agreement   (all the.to audit and/or
                                                    foregoing       reproduction,
                                                              hereinafter referred during normal Working
                                                                                   to as "Records")  shall behours,
                                                                                                               open by
                                                                                                                     to "
                         Valero's agent or its authorized represantative to the extent necessary to adequately permit
                     , . evaluation and verification of any invoices, payments or claims submitted by the Contractor
                 .........
                         orany'0fhis  Payeesinperformance      theWork andfortheAuditPurposes.                :.

                            Forthdpurposeofsuchaudits,
                                                    inspections,
                                                              cxmTdnations,
                                                                         andevaluations,
                                                                                      theValero's
                                                                                                agen(
                            orauthorized
                                       representative
                                                  shallhaveaccess
                                                                tosaidRecordsfromtheeffective
                                                                                           dateofthis
                            Agreement,fortheduration
                                                   oftheWork,anduntil three(3)yearsafter
                                                                                       thedateoffinal
                            paymentbyValerotoContractorpursuant
                                                              tothis
                                                                   Agreernent.

                            Valero's
                                   agentorits
                                            authorized
                                                     representative
                                                                 shall
                                                                     haveaccesstotheContractor's
                                                                                             facilities,
                            shall
                                haveaccesstoallnecessary
                                                       Records,andshallbeprovidedadequate
                                                                                        andappropriate
                            workspace,inordca"
                                             toconductaudits
                                                           incompliancewiththisscctlon.
                                                                                     Valero's
                                                                                           agentorits
                            authorized
                                     representative
                                                 shall
                                                     giveanditccs
                                                                reasonableadvancenotice
                                                                                      ofintended
                                                                                               audits.

                           Contractor
                                    shall
                                        require
                                              allsubcontractors,
                                                             instnance
                                                                     agents,
                                                                           andmaterial
                                                                                    suppliers
                                                                                           (Payees)
                           tocomplywiththeprovisionsofParagraph
                                                              29by insertion
                                                                          oftherequiremants.hcrcofin
                                                                                                a
                           written
                                 contract
                                        agreementbetweenContractor
                                                                 andPayee.

                            Notwithstanding
                                         anylhingtothecontrary
                                                             hcrcinabove,
                                                                       Valero's
                                                                              audit
                                                                                  rights"
                                                                                       inrelation
                                                                                               l0
                           "Lamp Sum workshall
                                             be limitedtoContractor
                                                                 providing
                                                                         unpriced
                                                                                copies
                                                                                     oftheRecords.

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                   30.    Termination for Contractor'sBreach.


                          (a)       If Cont_'actorshall become insolvent or receiverddp or bankrup)cyproceedings shall
                                    be commenced by or against Contractor or if Contractor shall make an assignment
                                    for the benefit of its creditors, or if Contractor shall- fail or refuse to perform a
                                   material portion 0fthe Work and Contractor does not commence to cure such.failure .
                                    or _fusal immediately following written notice by Valero and thereafter diligently                        ....
                                    pursue such cure to completion, or if Contract0r falls behind the Project Schedule
                                     by thirty (30) days urrmore (as such Project Schedule may be adjusted due to"Force .
                                    Majeorc, a Change Order or a failure of Valero to perform timely its obligations "
                                   .hereunder in each instance that causes an actual delay in the performance of Critical
-                                   Path Items), and ConJa'actordoes not commence to cure such failure or refusal to.                            . .
        '                           Valero's reasonable satisfaction immediately following written notice by Valero and
      " ""                        . thereafter diligently pursue such cure to completion, then this Agreement shall be
                                   deemed to have been breached by Contractor, and Valero, without prejudice to and
                                    cumulative of all other fights and remedies which Valero mayhave cathe result of
                                    such breach, shall have the ontion to tet'minate th{_A o:r_*,mo,nt fnrth_th _,,5o¢,o¢_,,
                                    written notice thereof to Contractor.

    ......               - Co)-    In the event of"any such termination-for Contractor'sbre_:h,_V'klc_0_-h_--'e_tifled"
                                   to enter upon Contractor's jobsite premises and take possession of and r_mov¢ all                 .'
       •.                          drawings, •specifications, materials, equipment and supplies intended to" be" "i"                      ....         '
                                   incorporated into the Work; to have assigned to it all subcontracts and other .,                  ." ,        • .



             .._                   vendors,'matcrialmen   and entered
                                   contractual arrangements    suppliersinto
                                                                          for any part of the with
                                                                              by'Contractor   Work;any
                                                                                                     andsubcontractors,
                                                                                                         to make mJchl_' " _ • '                   .
                                   arrangements as Valcro in its sole discretionshall deem necessary or appropriate for
                                   the completion of the Work. Vale.to shall have the obligation to mitigate the costs
                                   related to such completion.                      :            •"
                                                    ¢

                         •(c) , . In the evefit Contractor breaches this Agreement as set forth in Section 30(a) and
                                  Contractor does not commence to cure such failure or refusal to Valem's reasonshl¢
                              • "'satisfaction immediately following written notice by Valero and thereafter diligently
                                  pursue such cure to completion, then Valero in addition to its fight to terminate the
                                  Agreement, may choose not to terminate the Agreement and in that ca._¢to arrange
                                  for another contractor or Valero to assist Contractor in conipleting the Work.
                                   Contractor will .cooperate
                                                            fully with Valero and any contractorhired pursuant to this
                                   section.

                          (d)     Contractor shall not be entitled to receive any further payment until the Work is
                                  finished. If the actual_cost .to Valero of finishing the Work exceeds the unpaid
                                  bal_mce of the TSD Price, Contractor shall pay the difference to Valcro within thirty
                                  (30) days of the completion of the Work. If the actual cost to Valero of finishing the
                                  Work plus 10% (which 10% shall be a liquidated sum representing Valero's costs for
                                  managerial and administrative services) is less than the unpaid balance of the TSD
                                  Price, then Valero shall within thirty (30) days pay Contractor the amount theretofore -

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                                      unpaid Oh Contrac'tor's properly documented application for payment submitted for

,_                                   .Work performed to the date of termination.
                             !e)      Faihtre of Valero to exercise any of the rights given under paragraphs 30(a)-(d) shall
            "                         not excuse Contractor from compliance with the provisions of the Agreement nor
                                      prejudice in any way Valero's right to exercise anysuch rights in r_-pect of such or              " "          :
                                      anysubsequent breach by the Contractor.

           31. • . Termination for "Valeto's Convenience. In addition to Valero's rights to terminate this
     ";           Agre_'ment as p_ovided    inparagraphs 30(a)-(d), Val_ shall have the fight to terminate this
                   Agreement hy g_vlng Contractor written notice, the effective date of such terminatima b_ng
     " "        ' thr_'($) business days after the date of receipt by Contractor Ofsuch notice, In the event of
                   such termination Valero shall pay to Contractor. (i) all of the Milestones actually achieved
                  •(or portion thereoi') by Contractor as of the' effective, date of termination; (ii) all actual
                   reasonable costs incurred by Contractor in properly termir_ating the Work including
                   cancellation fees incurred, in terminating commitments to third parties, and (iii) the actual
                • cost that is incmTed bY Conla:a      ....                    mpleted-or--uneomple,tcd-3gork4n
                   accordance with Valero's instructions. Valero will then have the obligation within thirty (30)
                   days to advise Contractor as to disposition of any partially completed or tmcempletpd parts
         .        -of the Work-in the-event-sucti items-are in C6fitrgct6i'S-f_i_liti_.Ttie-15/_y/ff_e"rm_-dfihis
            "-     Agreeraent wiU apply to payment for temiination costa due undcc tlxis parsgraph 31.

                 32.         Termination/or Valerq's Breach.                                                  ,"

D                            (a)"    ]fValero shall become insolvent or receivership or bankruptcy proceedings sfiall be
                                     commenced by or against Valero, or if Valero shall make an assignment'f0r the '
                                     benefit of its creditors, or if Valero shall fall or refuse to pay any undisputed amounts
       ...................          -owedpm'suanr thi_ AgreeMent'and does not eognmence to cure such failure or refusal
                                    within thirty (30) days following written notice by Contractor then this Agreement
                                     shall be deemed to have been breached by.Valero, and Conlrantor, without prejudice
                                    to and c_unulative of all 6ther rights and remedies which Conlractor may ha'¢¢ as the"              .
                                    result of such breach, shall hays the option to terminate this Agreement forthwith by
                                    giving notice theruofto Valero..

                             0a) .... In the _ent ofany_uub termination, Contractor shall use its best efforts to-negotiate        :
                                      termination charges with" all subcontractors, vendors, materialmen and suppliers                        " '"
                                      which refieet actual costs incurred in the performance of the Work plus a prorate
                                      profit on Work actually performed minus amounts previously paid and any salvage
                                      value realized Orrealizable.
                                    .....................................                       .   ....


                             (c)    Upon the seltlcment of all claims of subcontractors, vendors, materialmen 'and
                                    suppliers and upon presentation of Contractor's final application for payment, Valero                       " "
                                    shall pay to Contractor an amount equal to Contractor's costs (including prorata
                                    profit) on Work actually performed minus amounts previously paid and any salvage
                                    value realized or realizable.    " "

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            •33.       Bonds. • Contractor agre_ to use its bat efforts to obtain whatever bonds, including
                       performance bonds, which may be requested by Valero. Costs for such bond shall be
        _              reimbursed hy Valero upon Contractor's submission of invoice for same.

             34.       _.            Neither Contractor nor Vaiero may assign this Agreement in whole or in part,
                       without the written consent of both Contractor and Valero. However, in the ev_at
                       substantially all of Valero's assets are acquired by or transferred to another entity, Valero
                       shall have the fight to assign this Agreement to such entity without Contractor's consent

             35.      " Su.b.contractors.Contractor may not subcontract any material on-site portion of the Work
                        contz_cted forunder this Agreement without the prior written approval of Valero. Contractor
                        agrees that it wi!l include as a cundition of its con_'act with subcontractor, that subcontractor   , ,
                        will abide by the terms and Conditions of thls Agreement, including, but not Ih'nited to the
"                       provisions of Paragraphs 9, 13, 20, and 21. •

             36.         Disposal of Surplusl_late_ials. All sales of surplus materials, equipment, supplies, and scrap
                         furnished by Valercoor furnished hy Contractor and reimbursed by Valero, must have the
                         prior written approval of the Valero representative. All returns from such sales shall,belong
                         to Valero. Title to all surplus items furnished b)_Contractor under a lump sum AgreL-rnent
    •              ---.shall remain.with the Contractor.

             37.       Force Majeure. Both Parties shall be excused from performance (e:_cept for paynlerit.
                       obligations), and shall incur no liability for any !oss or damage due to any delay or failure to

            •          reasonable
                       performits   control'
                                     obligations
                                             of thePartyaffected,
                                                 underthisAgreementwhen
                                                                      to include,
                                                                               caused
                                                                                 bnt notbe
                                                                                      by occurrenc_
                                                                                              limited  beyondthe
                                                                                                       t o,actsof
                       governmental    authority,
                                                acts ofGod,strikes  orother concertedactsofworlane_,   availability,
                       substitution  ordiversion  of laborormaterials     and operating equipmentnotcausedby
            '-         Contractor's-acts-or    omissions,  fires,-
                                                                 explosion,  dots,war,rebelfion    and sabotage.
                       Performance    shallbeexcusedhereunder    onlyiftheaffected Partydelivers  written notice of
                       theoccurrence,    includinga fulldescription  thereof,totheother Partywithinfive(S)days
                       fromthetimeConWactor      becomesawareoftheeventgiving       risetothedelayandendeavors
                       toremedysuchnon-performance         withallreasonable   dispatch.Ifperformance   isddayed
                       underthis  Section, theProject Schedule  (including theProject
                                                                                    DateCertain)   shall
                                                                                                       beadjusted
                       to the extent the event of Force Majeure causes and actual delay in the performance of a
                       Critical. Path Item.•••Each .party shall bear its own costs related to the Force Majeure,
                       provided, however, Valero shall be responsible for costs directly related to any third party
                       equipment rentals incurred by Contractor as a result of the Force Majuero.

            38.        Taxes. Contractor's invoices shall provide separated charges for all material, equipment and
                       labor provided under this Agreement.

                         A.     Material and Equipment Costs: Vale_7owill be responsible for the payment of all
                              New Jersey sales and use taxes, if any, on material and equipment prodded under this
                              Agreement. Valero will provide the Contractor a New Jersey Exempt Use Certificate
                              (Form ST-4), to be used by Contractor to purchase all manufacturing materials and

                              equipment tax-free. 2ontrsctor shall be responsible for the payment of all New Jersey




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                              sales andusetaxon non-manufacturing
                                                               consumable       supplies, toolsand
                                                                        materials,
                              equipment usedintheperformance
                                                          ofthis
                                                               Agreement,
                                                                        andContractor
                                                                                   shall notcollect
                              such taxes from Valero

                         B.      LaborCost.s:  Valcrowill  bereapons_le   forpaymentOfall New Jersey    sales
                                                                                                            anduse
                                taxes, ifany,on anytaxable     laborperformed   underthisAgreement.Valerowill
                                provifte _e Contractor with a New Jersey Certificate of Capital Improvement (Form
                              . ST-8) for all services provi.ded under this Agreement.   This certificate should be
                              provided to all sub-contractors performing services on behalf of the Contractor to
                                exempt such services from New Jersey sales and use tax.

                         C.     In the evefit Contractor is assessed sales and use taxes by the governmental authorities
                                of the State of New Jersey for transactions related to the performance of this
                              • )kgreement for which Valero has issued a Form ST-4 or ST-8 as provided above,
                                Contractor will notify Valero within five (5) business days and allow Valero the
                                opportunity to argue and defend its position relative to the imposition of such taxes.
                                 Pending the outcome of Valero's defense of such position, Contractor will not pay
                                any such taxes or assessments unless Contractor has a good faith belief, after
                                consultation with counsel, that it is required to do so. In the event Contractor
......                          properly_notifies..Valero as provideffabove, and Contractornonethaless.is req.uired ..........
                                to pay such taxes as a result of Valero's failure to comply with any applicable laws
                                or regulations governing the payment of such levies, the amount of any paymen_ so
                                made by Contractor shall be reimbursed by Valero upon submission of Contractor's
         .-"_                 . invoices therefor.
         J
                39.    Arbitration. Any controversy, cause of action, dispute or elalm arising out of, relating to, .
                       or in cormeetion with, this Agzeernent, or the breach, termination or validity.thereof, shall .
                       be settled by arbitration in accordance with the Commercial Arbitration Rules (the "Rules")
                       of the American Arbitration Association, as amended and in effect at the time of filing the
                       demand for arbitration. The tribunal for the arbitration shall consist of three arbitr'ators, one
                       to be designated by each Party and the third to be selected by the mutual agreement of the
                       two arbitrators. Each Party shall designate its arbiWator within twenty (20) days of receiving
                       a notice of arbitration. Prior to acceptance of appointment as an arbitrator, each arbitrator        • --
                       shall have read and affirmatively agreed to observe all provisions of the American
                       Arbitration Association's Code of Ethics for A.rbi'tratom in Corrunercial Disputes. THE
                       EXPEDITED PROCEDURES SET FORTH IN THE RLF-,ESSHALL APPLY AND THE
                       SUBSTANTIVE             AND       PROCEDURAL            LAWS        (EXCLUDING             ANY
                       CONFLICT.OF-LAWS, RULES OR PRINCIPLES,WHICH MAY-REFER THE LAWS OF
                       THE STATE OF TEXAS TO THE LAWS OF ANOTHER JURISDICTION PROVISIONS)
                       OF TILE STATE OF TEXAS SHALL APPLY. This Agreement involves interstate
                       commerce in several ways, including, without limitation, the fact that the facilities buy and
                       sell materials in interstate commerce and work performed in the facilities affects interstate        .....
                       commerce. The choice of Texas law shall not be interpreted as a choice to exclude
                       applicability ofthe Federal Arbitration Act to the enforceability and scope of this arbitration      '.
         ._            proyision. It is therefore specifically understood that both Texas and federal law, neither to
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                  the exclusion of the other,'apply to the enforceability and scope of this pmvlsion, and, in the
                  eventofaconflict   bctwennTexasandfederal      law,thelawmaximizing       theenforceabilityand
                  scopeof thisprovision,     including  lawsrelating   toappellate             may
                                                                                    remedies, be        invoked,
                  without excluding appHcabillty of other law, by the Party secklng to compel arbitration. If,,
                  forpurposes  ofdctcrmlning    Texasorfederal    law,aconflict  ordiffcra-nce  ofopinion  exists
                  betweenlowerstate     courts  andlowerfederal     courts, astheeasemay be,thisarbitration
                  provision, byagreement,    selectstheprecedent   ofthat  lowerstate court  orthatlowerfederal
                 •Courtthatmaximizesthe enforceability          and scopeof thisarbitration      provision.  The
                  arbitration shalltakeplaceinHouston,Texas.The Parties              specifically agreethatthe
                 :judgmentOr awardofthetribunal          shall be final  andbindingon eachPartyand.forall                          .-
                  purposes.Judgmentupon an arbitration           awardmay be entered        in any courthaving
                  jurisdiction. Thisarbi_n"ation provision  shall survive  thetermination  ofthis Ao-cement

           40.    Conflict
                        oflntcrest
                                andEthics.

                  A.        Conlxacto1"
                                      iriperformingitsobligations
                                                               underthisAgrccmantshallestablish
                            appmptiatebusinessstandards,
                                                       procedures
                                                                andcon_'ols
                                                                          including
                                                                                  thosedeemed
                            necessary
                                    toavoidanyrealorapparent
                                                           impropriety
                                                                    oradverse
                                                                            impactontheinterests
                            oftheValeroPartaes.

                  B_         Allpaymentsby ValerotoContractor          willbe received by Conh'actor    foritsown
       •                     accountandContractor     isnotauthorized    tooffer,
                                                                                giveorpromiseanypartofsuch
                           • payments, directly or indirectly, to any gnvcmment official, political party or official

                           thereof, or any candidate for political office.
                  C.       Contractor shaH exercise all reasonable care and diligence to prevent any actions or
                           conditions which could result in a conflict with Valero)s best interests. This
            -     ......   _obligation-shall apply to the activitie s of the crnployces, agents and subcontraotors
                           of Contractor in their relations with the employees of Valero and their families and/or
                           third parties arising  fi'omthisAgreement.Suchefforts          shallinclude, butnotbe
                           limitedto,establishing        precauti0ns    to prevent-their   employees,agentsor
                           subcontractors    making,receiving,     providing    or offering any substantial  gift.s,
                           exn'avagant  entertainment,    payments,   loansorother  consiilerations.                           •

           41.   Entiret£.
                         ThisAgreementcomprises theentire
                                                        agreement
                                                                between-Valero andContractor :
                 andthereareno conversations,
                                           understandings,
                                                        agreements,
                                                                  conditionsorrepresentations,
                 expressorimpliedwithreference
                                             tothesubject
                                                        matter
                                                             hereofthatarenotmerged.herein
                                                                                         or
                 supersededhereby.ThisAgreementshallbcbinding
                                                            onthePartieshereto,their
                                                                                   respective
                 heirs,
                      representatives,
                                    successors
                                             andassigns.              " ""       " "

           42.   Amendmant.The termsandconditions
                                               oftlaJs
                                                    Agrecmcatcanonlybcamendedbyawriting
                 signed
                      by bothParties.

           43.   Ca_fions.
                         Allcaptionsareinserted
                                             onlybypurposes
                                                          ofreference
                                                                   andshall
                                                                          dotbeusedto
....             interpret
                        theclauses
                                 towhichtheyapply.


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•                 44.       Waiver of Breach. The failure of Valero or Contractor ai any time to require performance of
                            any provision of this Agreement with respect to a particular matter shall in no way affect the
    _a_                  right of Valero or Contractor to enforce such provision at a later date with respect to another
                         matter, nor shalI the waiver by Vale_o orContractor of any breach ornon-performance of any
                        •provision hereof be taken or hold to be a waiver with respect to any succeeding br_ach or
:                        non-performance of such provision or as a waiver of the provision itself.

                  45.       Survival. Tbe parties obllgations under Sections.l 2 13, 26, 27, 29 and 38 shall survive the
                            expirfition or termination of this Agreement.

                  46.   .Judicial Construction. The Parties agree that judicial construction and interpretation of this ._
                         Agreementshall  .bemade asthoughthis    Agreementweremutually        drafted bybothPartics_
                         andshall  not-on thebasisofdrafting:   beconstrued    infavoroforagainst    aparticular Party
       •"'               hereto.

                         Intheeventany provision      hereinshall  be judicially'
                                                                                interpreted  or heldtobe x;oid   or
                         Otherwise unenforceable  aswritten,  itshallbe.deemedtoberevised      andmodified   tothe
                         extent necessary to make it legally enforceable. In any event, the remaining terms of the"
                         Agreement shall be enforceable as though the void or unenforceable provision did not exist.

                  47.       _0ticas. All notices required or contemplated under this Agreement shall be given bY
                            prepaid first class mail or telex, and addressed as follows: '

    ('._                                                   if to Val¢ro:         • :
     '-,_    ".                                          • Valero Refining Company---New 3ersey
                                                            Paulshoro Refinery
                                                           800 Billingsport Road
                                                           Paulsboro, N3 08066                .........
                                                           Attn: 2"erryWilli/tms
                                                           Telephone:      856-224-6640
                                                           Fax:            856-224-6331


                                                           With copy to:
                                                           Valero Energy Corporation
                                                           One Valero Place (78212-3186)
                                                           P.O.Box 500 •.
                                                           SanAntonio,   TX 78292-0500"
                                                           Atln:EPC Services   & Engineered
                                                                                          EquipmentSupplyBase
                                                                          Manager
                                                           Telephone: (210)370-2674
                                                           Fax:           (210)370-2304

                                                           iftoContractor:.
                                                           Howe-BakerEngincers,Ltd
                                                                                "

                                                           3102 E Fifth Street
                          EPC (Final)
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                                                  . Tyi,z, Tcx_ 7570.1
                                                    Attn: Ric Steele

    9                                               Telephone:
                                                    Fax:
                                                                  (903) 595-7750
                                                                  (903) 597-7758

                                                   Withcopy to:
                                                   Howe-Baker Engin_r% Ltd
                                                   3102 E Fifth Street
                                                   Tyler, Texas 75701
                                                   Atm: General Counsel
                                                   Telephone:    (903) 595-7919                           _.
         :                                         Fax:          (903) 595-7916

:              48.    Emolover's Registration Numbers. Contractor is, and during performance hereof will
                      continue to be, registered as an employer under applicable federal and other laws, and its
                      ernployer%registration numbers at'*:

                     F_de_912742                                   Stale:
                     TaxpayerID:                                   Contractors LicenscNo.     N/A

               49.   Govemim, Law: Venee. TH1!PARTIES AGREE THAT THIS AGREEMENT SHALL BE
                     CONSTRUED PURSUANT TO THE LAWS OF THE STATE OF TEXAS, WITHOLVi"
                     REFERENCE TO PRINCIPLES OF CONFLICTS OF LAW OF TEXAS OR ANY OTHER
    "%               JTLrRISDICTIONAND, WHERE APPLICABLE, THE LAWS OF THE UNITED STATES.
    ...,_             SUBJECT ONLY TO THE ARBITRATION PROVISIONS ABOVE, FOR ANY ACTION"
                     ARLSIIqG UNDER, ORRELATED TG, THIS AGREEMENT, THE PARTIES AGREE
                     THAT EXCLUSIVE VENUE FOR SUCH ACTION SHALL BE IN TI'IE STATE DR
                     FEDERAL DISTRICT COURTS SYI'TING IN HOUSTON, HA.RRIS COUNTY, TEXAS.

               50.   LIMITATION OF LIABILITY

                      NOTWITHSTANDING ANY'I'FI_G TO THE CONI'RARY UNDER THaS AGR.EENfENr
                      CONTRACTOR'S CUMMULATIVE LIABILITY ARISING OUT OF OR IN ANY
    •                 MANNER RELATED TO ITS PERFORMANCE OF THE WORK UNDER THIS
                      AGREEMENT SHALL NOT EXCEED IN THE AGGREGATE TEN MILLION DOLLARS
                      ($10,000,000) WHETHER COVERED BY INSURANCES OR NOT, AND WHETHER
                      SUCH LIABILITY ARISES IN CONTRACT, TORT, STATUTE, EQUITY OR OTHER
                     •THEORY OF LAW ('INCLUDING, BUT NOT LINI1TEDTO THE FAULT, NEGLIGENCE
                      OR STRICT _ILITY       OF CONTRACTOR);    PROVIDED   HOWEVER,  THE
                      LIMITATION STATED IN THIS PARAGRAPH SHALL NOT BE OPERATIVE ON
                      BEHALF OF THE INSLrRANCE PROVIDERS TO LIMIT AMOUNTS       THAT ARE
                      RECOVERABLE     UNDER THE INSURANCE REQUIRED BY SECTION 9 HEREOF
                      BUT FOR SUCH LIMITATION.

                     NEITHER PARTY SHALL BE RESPONSIBLE OR HELD LIABLE HEREUNDER TO

    )                THE     OTHER      PARTY       FOR     PUNITIVE,      INDIRECT,        INCIDENTAL         OR

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                                                                                        VAL 002914
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                                 CONSEQU-ffNTIAL DAMAGES, INCLUDING WITHOUT LI_TATION, LIABILITY
          •                      FOR LOSS OF USE, LOSS OF BUSINESS OPPORTUNITY, LOSS OF PROFIT OR
                  •-              REVENUE, .LOSS OF PRODUCT OR OUTPUT, OR BUSINESS INTERRUPTION,
              :                   UNLESS THE SAME ARISE FROM THE GROSS NEGLIGENCE OR WILLFUL
                             ,    MISCONDUGT'OF THE OFFICERS OR UPPER LEVEL MANAGEMENT OF SUCH
                                 PARTY. THE LIMITATIONS SET FORTH ABOVE APPLY WHETHER         SUCH
                                  LIABIIZrYARISES INCONTRACT,TORT, STATUTE, EQUITY OR OTHER THEORY
                                  OF LAW (INCLUDING, BUT NOT I/MITED TO THE FAULT, NEGLIGENCE OR.
                                  STRICT-LIABILITY OF EITHERPARTY). •                           .•

      :                S1.       -Third Party Beneficiarias. Except as otherwise expressly provided herein, nothing in this
                                  Contract, express or implied, is intendexl, or will be construed, to confer upon or give any
                                  person dr entity other than Company and Contractor, and their respectiv* anccassors and
      " "                         assigns, any rights, rcmedias or obligations under or by reason of this Contract or any Work
                                  performed hereunder.



                       IN WITNESS WHEREOF,               rids Agreement is entered into on the dat¢ first stated above.

                       VALERO RE-_ING              COMPANY-        "        CONTRACTOR,    by its general pan_aer
'.                     NEW/ERSEY                                            Howe-Baker Management, LLC       .


 •                     "By:.                                                By:.
                       Name                                                                  R. M     do;v"
                                                                                                         " I
                       "Tide: Vice President                                 Title:   President& CEO             .]




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              i
                                                    EXHIBIT B-3
                                CONTRACTOR PARTIAL AFFIDAVIT_ LIEN WAIVER AND RELEASE



                                                   KNOW ALL MEN BY THESE PRESENTS

                   THAT                                          (hereinafler referredto as Contractor),in accordance with
                   the terms and Conditions of that certain Engineering Procurement and Construction Agreement
                  between Valero Refining Company--New             Jersey and                                       , dated
                                       • 2002 (such agreement and all amendments thereto hereinafter are collectively
                  referred to as the "A_eem_ ent'') for work to be performed by Contractor thereunder (the 'Work") and
                   as part oi or related to the                         Unit, and all other equipment and installations
                  related    thereto     to be located primarily        in Panlsbore,       New    Jersey    (such Work,
                                                   Unit end all other equipment and installations related thereto
                  hersinal_er collectively referred to as the "Project"), as further described in the Agreement and in
                  consideration of:

                                                                                       rln11_'_   (S             ),

                  rep_senting partial payment under Said Agreement, hereby releases, forever discharges, and agrees to hold
                  harmless and indenmify Valero Refining Company---Nero Jersey (ht:re_          referred to _ "Owner"), Owner's
.........         parent;-affiliates;-successors-and-assigns the- Project-and-the Project-aite which is-located-at- Owner's ........
                  Panisboro, New Jersey refinery and any and all improvements, materials and equipment placed, erecte.dor
                  installed thereon. (such site and Owner's refinery are hereinafter collectively referred to as "Owner's Site")
       •           from those liens, removal rights, debts, claims, charges, demands, encumbrances, security interests,
     i ...)       mechamc s liens, supplier's, labor or materialmen's liens (constitutional, statutory and common law),
                  obligations and causes of action of every nature which Contractor has, might have or could have against
                  Owner, Owner's Successors and assigns, and/or the Owner's Site by reason of or otherwise arising out of or
                  in connection with said Agreement.

                  Contractorrepresents, certifies and warrants that all costs, charges, expenses, payrolls,bills for materials and
                  equipment and other indebtedness connected with the Work for which the Owner and Owner's parent,
                  affiliates successors and assigns might be deemed responsible or Owner's Site orthe other property might be
                  encumbered, and claims incurredby Contractoror on its beh_, or against said Contractor,of every nature and
                  ldnd whatsoever arising out of Work, labor, or services performed or material or equipment applied, or
                  because of the performance of the Contractor, have been paid or otherwise satisfied, from the proceeds of the
                  payments received from Owner except for:
                                                                                                          ('Note: list or attach a
                  schedule of unpaid amounts that are to be satisfied from the proceeds of this partial payment) which amounts
                  Contractor represents, and warrants will be paid from this partial payment, and that there are no expected or
                  known claims, liens, securityinterests or encumbrances in the nature of mechanic's or maturialmen's liens or
                  claims arising out of or in connection with the performance by Contractor of the Work to be performed by
                  Contractor und_ said Agreement and that this Partial Affidavit, Lien Waiver and Oanerai Release is made for
                  the purpose of inducing payment under the said Agreement.
                  Contractor, further represents, certifies and warrants that each of its subcontractorsand sub-suppliers has made
                  full payment of all costs, charges, expenses, bills and claims incurred by themor on theirbehalf Of every nature
                  and kind whatsoever arising out of Work, labor or Services performed or material or equipment supplied or

            ')    because of the performance of the Contractor or its subcontractors and sub-suppliers under said Agreement.
                  AS ADDITIONAL CONSIDERATION FOR THE PARTIAL PAYMENT, CONTRACTOR AGREES TO




                  PAUI_BORO
                          EPCfFINA
                                 r._                                                                   VAL 002928
    Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 38 of 69 PageID: 2376




            INDEMI'qIFYAND HOLD HARMLESS      OWNER AND ITS PARENT AND AFFILIATES, AND
            OWNER'S SITE,FROM AND AGAINST ALL COSTS, LOSSES, DAMAGES, CLAIMS, CAUSES OF
            ACTION,/UDGMENTS    AND EXPENSES, INCLUDING ATTORNEY'S FEES ARISING OUT OF OR
            IN CONNECTION WITH CLAIMS AGAINST OWNER AND ITSPARENT AND/OR A_vFK/ATES,AND
            OWNER'S SITEWI_CH CLAIMS ARISE OUT OF THE PERFORMANCE OF THE WORK UNDER THE
            AGREEMENT    AND WHICH MAY BE ASSERTED BY THE CONTRACTOR         OR ANY OF ITS
            SUBCONTRACTORS    OR SUB-,SUPPI/ERSOF ANY TIEROR ANY OF THEIR REPRESENTATIVES,
            OFFICERS, OR EMPLOYEES.
            The forgoingshall    notrelieve   theContractor ofitsobligations
                                                                         undertheprovisions
                                                                                         ofsaidAgreementas
            amended,orapplicable     law,whichhavenotbeenexpressly    andspedfieally
                                                                                  released
                                                                                        ordischarged
                                                                                                   herein
                                                                                                        or
            bytheirnature surdvecompletion      oftheWork orsin"vices
                                                                    including,
                                                                           without
                                                                                 limitation,
                                                                                         warmnfic.%
                                                                                                  guarantees
            and indemnities, all as set forth in said Agreement.
            IN WITNESS WHEREOF the undersigned has duly executed this Partial Affidavit, Lien Waiver and General

            Release
                  this                               .dayof                                  ,.u+_.__..

                                                       [insert
                                                            name ofCon_aetor]

                                                       Principal:



                                                                                Authorized
                                                                                         Signa+m+
                                                                                               e

:    "t                                                                        " Name and Tide
          "" STATE OF

            COUNTY OF

                                                                           being duly sworn deposes and _     that he/she
            the                                              of the                                   , that he/she is duly
            authorized to execute the foregoing Lien Waiver and General Release and to make this Partial Affidavit, and
            that the representations, certifications, warranties end statements made in the foregoing Lien Waiver and
            General Release and in this Partial Affidavit, are true to his/her own knowledge.




      j




           PAtrt
               SmOROF.PC
                       +Fr_+,u                                                                   VAL 002929
                                                                                  ,   + .
Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 39 of 69 PageID: 2377




                                                                                0




                                                              VAL 002930
 Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 40 of 69 PageID: 2378




                                                                                             Signature

               Subscribed and sworn to before me this               . day of                             ,.



                                                                                             Notary Public




                                                  EXHIBIT B-4
                              CONTRACTOR FINAL AFFIDAVIT, LIEN WAIVER AND RELEASE



                                               KNOW ALL MEN BY THESE PRESENTS

                 THAT                                            (hereinafter referred to as Con_ctor), in accordance with .
                 the terms and conditions of.that certain Engineering Procurcmant and Construction Agreement
                 bcgvcea_*:a_fmi_g_Uomp__y                                    _nd                                  , _datot_
                       -             ,2002 (such agreement and all amendments thereto hereinaRer are collectively
                 referred to as the "Agreement") for work to be performed by Contractor thereunder (the "World') and                     .
           .... as part of or related.tothe     =.......        Unit, and all other.equipment and instatlationsjelated.      _
               • thereto to be located primarily in Paulsboro, New Jersey (such Work,                                  Unit                  ...............
                 and all other equipment and ihstallations related thereto hereinafter collectively referred to as "the
                 Project''), as further described in the Agreement and in consideration of:

•'_.. "}                                                                                          ($
                                                                                             dollars                   ),
              representing final payment under said Agreement, hereby releases, forever discharges, and agrees to hold
              harralass and indemnify Valero Refining Company--New Jersey (bcminaRer rcfcn'cdto as "OwnS'), Owner's
              parent, affiliates, successors and assigns, the Project, and the Project site which is located at Owner's
              Paulsboro, New Icrsey refinery _d any and ail improvcmems, materials and equipment placed, erected or
              installed thereon (such site and Owner's r_fincry are harcinaftor collectively referred m as "O.wner's Site")
               from those lions, removal rights, debts, claims, charges, demands, encumbrances, security interests,
              mechanic's liens, supplier's, labor or materiaimen's liens (constitutional, statutory and common law),
              obligations and causes of action of every nature which Contractor has, might have or could have against
              Owner, Ownar's successors and assigns, and/or the Owner's Site byreason of or otherwise arising out of or
              in conncedan with said AgrcemanL

              Contractor represents, certifies and wan'ants that all costs, charges, expenses, payrolls, bills for materials and
              equipment and other indebtedness connected with the Work for wh/ch the Owner and Owner's parant,
              affiliates, successors and assigns might be deemed raspons_le or Owner's Site or the other propcxty might be
              cncambared, and claims incurredby Conu'actor oron its behalf, or against said Con(ratter, of every nature and
              kind whatsosvcr arising out of Work, labor, or services performed or material or equipment supplied, or
              because of tl_eparformance oft.he Contractor, ha'cobeen paid or otherwise satisfied, from the proceads of the
              payments received'from Owner, and that there are no expected or known claimsp liens, security interests or
              ancumbranccs in the nature of mechanic's or matcriahncn's ticns or chims arising out of or in connection with
              the pcrformsnce by Contractor of the Work to bc pcrfurmed by Contractor andar said Agreement and that this
              Final Affidavit, Lien Waiver and Release is made for the purpose of inducing payment under the said
    •.
     i
              Agreement.
    .'        Contractor, further rcpresants, certifies and warrants that each of its subcontractors and sub-suppliars has made
              full payment of all costs, charges, expenses, bills and claims incurred by them or on their behalf arising out         -

              ofWork, labor or sepAces performcd or material or equipment suppliedorbecauseoftheperformanceofthe                   ...Aq..'_
              PAULSBORO   EPC (FINAL)                                                                                              - | t_'/f/_

                                                                                                     VAL      002931
Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 41 of 69 PageID: 2379




               Contractor or its subcontractors and sub-suppliers und_ said Agreement.
              AS ADDITIONAL CONSIDERATION FOR THE FINAL PAYMENT, CONTRACTOR AGREES TO
              INDEMNIFY AND HOLD HARMLESS OWNER AND OWNEI_.'SPARENT AND AFFILIATES,AND
              OWNER'S SITE,FROM AND AGAINST ALL COSTS, LOSSES, DAMAGES, CLAIMS, CAUSES OF
              ACTION, JUDGMENTS AND EXPENSES, INCLUDING ATTORNEY'S FEES ARISING OUT OF OP.
              IN CONNECTION WITH CLAIMS AGAINST OWNER AND OWNER'S PARENT AND AFFILIATES,
              AND OWNER'S SITE WHICH CLAIMS ARISE OUT OF.THE PERFORMANCE    OF THE WORK
              LINDEP,THE AGREEMENT AND WHICH MAY BE ASSERTED BY THE CONTRACTOR     OR ANY
              OF ITS SUBCONTRACTORS    OR SUB-SUPPLIERS OF ANY                            TIER OR      ANY     OF THEIR
              REPRESENTATIVES, OFFICERS,OR EMPLOYEES.

              The foregoing shall not relieve the Contractor of their obligations under the provisions of said Agreement, or
              applicable law, which have not been expressly and specifically released ordischarged b_'cin orby thdr nature
              survive completion of the Work or services including, without limitation, warranties, guarantees and
              indemnities, all as set forthin said Agreement.
              IN WITNESS WHEREOF the und_signed has duly executed this Final Affidavit, Lien Waiver and Release
              this                             day of                                 ,

                                                        [insert name of Cent*actor]

                                                        Principal:.                                                            ........


        ._,                                             By:.
    +,..
          )                                                                      Authorized Signature

                                                                                  Name and Title
              STATE OF

              COI/NTY OF

                                                                          being duly sworn depo,sesand says that he/she is
              the                                               of the                              , that he/she is duly
•             authorized to execute the foregoing Lien Waiver and Release and to make this Final Affidavit, and that the
              r_prascntations, certifications, warrantiesand statements made in the foregoing Lien Waiver and Release and
              in this Final Affidavit, are true to his/her own knowledge.




                               J




        )




              PAm._RORO
                      _PCCFmAU                                                                   VAL 002932
Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 42 of 69 PageID: 2380




                                                                  Signature

              Subscribed and sworn to before me th_s   _ day of               , _-



                                                                  Notary Public




 • .:_P




          PAULSBORO   EPC   (FrNAL)                                                  I_#'   _.


                                                                        VAL 002933
Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 43 of 69 PageID: 2381
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 .:1 ..

        '     HOWE-BAKEREN_;I_'EERS_LTD.             3102East Fifl.hS_-eet,'bfler, Texas75701,Phone:     9031597-0311 Fax: 9031595-7759

       ]nv6]ceNuml_r                   63936                                            i._Cvt_tc_l_akef
       INVOICE
       InvoiceDate                     3-29-04
       Page                     I   Of     3                         __t'_                  rL_        oi_f




       TO: VALERO REFINING COMPANY-NEW                JERSEY           WIRE TO:
           800 BILLINGSPORT ROAD                                       BANK OF AMERICA,            N.A.
           PAULSBOKO, NJ 08066-103 6                                   DALLAS, TX.
                                                                       ABA NO. 111000012
                                                                       HOWE-BAKER ENGINEERS,                  LTD.
              ATTN: MR. PAT DOUGHERTY                                  ACCOUNT NO. 003752192593




       TaxIDNumber              XX-XXXXXXX
       CustomerOrderNo          4500264499
       Terrm                    NET 30 DAYS VIA BANK WERE TRANSFER

       ShippingTerms
       DateShlpped                                                                          H-BRef
                                                                                           IVia          I J-1901

       Item        Qt)                                Description                                                    Unit Price       Amount
                         UOP CCR PLATFORMER PROJECT, PAULSBORO, NJ


                         ORIGINAL CONTRACT AMOUNT          $110,145,980.00
                         APPROVED CHANGEORDERS               $4.217,640.00
                         CURRENT CONTRACT VALUE            $114,363,620.00

                         MILESTONE INVOICE #21                               O            #MOUNT

                /_       )ENGINEERING
                          NONE                                                0.000000%
                          CURRENT EARNED MILESTONE                            0.000000%

                         PREVIOUSLY EARNED                                   17.175176_
                         CLrMULATIVEEARNED TO DATE                           17.175176%    $19.642,153,00
                         LESS PREVIOUS INVOICE AMOUNTS
                         CURRENTGROSS INVOICE AMOUNT                                          $35,620.00
                         LESS 10% RETENTION
                               NET ENGINEERING AMOUNT DUE                                     $32,058.00                          $32,058.00

              I_         PROCUREMENT
              ;          NONE                                                 0.000000%
                         CURRENT EARNED MILESTONE                             0.000000%

                         PREVIOUSLY EARNED
                         CUMULATIVEEARNED TO DATE "                          37.105201% $42,434,851.00

                                                 CONTINUED ON PAGE 2

      ALL WORK DONE BY THIS COMPANY IN PRODUCING THE MERCHANDISE LISTED IN THIS INVOICE AND THE PRICES
      CHARGED ARE IN ACCORDANCEWITH GOVERNMENTREGULATIONS. SELLERALSO REPRESENTS THAT THE GOODS OR
      SERVICESCOVERED BY THIS INVOICE HAVE BEEN PRODUCED OR RENDERED IN ACCORDANCE WITH THE PROVISIONS OF
      1"/-IE
           FAIR LABOR STANDARDS ACTOF i938r AS AMENDED.

       q boc# 51o71o

                                                                                                                      VAL    003722
Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 45 of 69 PageID: 2383




              HOWE-BAKER         ENGI1VEERS, LTD. 3102 East Fifth Street, Tyler, Texas 75701, Phone: 903/597-0311   Fax: 903/595-7759




       Involce Number:.     63936                                         _&"             Ft_'ff_O_¥
                    To:     VALERO    REFINTNG COMPANY=NL
               H-B Ref:     J-1901
                    Page:         2          of       3




       Item          Qty                                Desc_pfion                                            Unit price         Amount
                            LESS PREvIOUS INVOICE AMOUNTS
                            CURRENT GROSS INVOICE AMOUNT                                     $76,952.00
                            LESS 10% RETENTION
                                       NET PROCUREMENT  AMOLrNT DUE                          $69,257.00                        $69,257.00



                            NONE                                        9.000000%
                _           FABRICATION
                            CURRENT EARNED MILESTONE                    0.000000%

                            PREVIOUSLY EARNED                          ]0.738889_
                            COMOLATIVE EARNED TO DATE                  10.738889%        $12,281,382.00
                            LESS PREvIOUS INVOICE AMOUNTS                                $12 259 l l 1.00
                            CURRENT GRoss INVOICE AMOUNT                                      $22,271,00
                            LESS 10% RETENTION


                            CONSTRUCTION
                            COMPLETE
                                 NET INSTALLATION
                                     FABRICATION AMOUNT
                                                  OF LADDERS
                                                          DUE                                $20,044.00                        $20,044.00
                              AND pLATFORMS                   0.400000%
                    t_      COMPLETE AREA PAVING
                            CUP.KENT EARNED MILESTONE                   2.400000%

                            PREVIOUSLY EARNED                         30.076332%
                            CUMULATIVE EARNED TO DATE                 32.476332%         $37,141,109.00
                            LESS PREVIOUS INVOICE AMOUNTS
                            CURRENT GROSS INVOICE AMOUNT                                  $2,807,102.00
                            LESS 10% RETENTION
                             NET CONSTRUCTION AMOUNT DUE                                 $2,526,392.00                     $2,526,392.00


                                                  TOTAL AMOUNT    DUE THIS INVOICE                          f._




                                                                                                            L5
                                                      CONTINUED     ON PAGE 3




        ALL WORK DONE BY THIS COMPANY     IN PRODUCING THE MERCHANDISE  LISTED IN THIS INVOICE AND THE pRICES
        CHARGED ARE IN ACCORDANCE WITH GOVERNMENT REGULATIONS.     SELLER ALSO REPRESENTS THAT THE GOODS OR
        SERVICES COVERED BY THIS INVOICE HAVE BEEN PRODUCED OR RENDERED IN ACCORDANCE WITH THE PROVISIONS OF
      { THE FAIR LABOR STANDARDS ACT OF 1938_ AS AMENDED.




                                                                 ORIGINAL



                                                                                                                       VAL 003723
Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 46 of 69 PageID: 2384


             HOWE-BAKER ENi_I/_EERS, L'TD. 3102 East Fifth S_-eet,Tyler,Texas 75701, Phone: 903/597-0311 Fax: 903/595-7759




      Invoice N/ra'oer.    63936                                  , _a_),
                   To:     VALEROREFINING COMPANY-NJ.
             H-B Ref:      J-1901
                 Page:            3    of    3



      Item        Qty                                   Description                                 Unit price       Amount

                          SUMMARY
                          CUMULATIVEEARNED TO DATE              97.495598%     $111,499,495.00
                          PREVIOUSLY INVOICED                   95.095598%     $108,557,550.00
                          GROSSAMOUNT CURRENT INVOICE            2.400000%       $2,941,945.00
                          RETENTION CURRENT INVOICE                                $294,194.00
                          NET AMOUNT CURRENTINVOICE                              $2,647,751.00

                          RETENTION WITHHELDPREVIOUSINVOICES                    $10,855,760.00
                          RETENTIONWITHHELDCURRENTINVOICE                          $294.194.00
                          RETENTION WITHHELDTO DATE                             $11,149,954.00

                          NET AMOUNT PREVIOUSLY INVOICED                        $97,701,790.00
                          NET AMOUNT CURRENT INVOICE                             $2,647,751.00
                          NET AMOUNT INVOICED TO DATE                          $I00,349,541.00




    [ ALL WORK DONE BY THIS COMPANY IN PRODUCING THI_MERCHANDISE LISTED IN- THIS INVOICE AND THE PRICES
    l CHARGED ARE IN ACCORDANCE WITH GOVERNMENTREGULATIONS. SELLER ALSO REPRESENTS THAT THE GOODS OR
    / SERVICESCOVEREDBY THIS INVOICEHAVE BEEN PRODUCED ORRENDERED IN ACCORDANCE WITH THEPROVISIONSOF
    | TEE FAIR LABOR STANDARDS ACT OF 1938_AS AMENDED.




                                                         ORIGINAL


                                                                                                        VAL 003724
Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 47 of 69 PageID: 2385



                                                                             EXHIBIT B-3


                               CONTRACTOR             PARTIAL          AFFIDAVIT_ LIEN WAIVER AND RELEASE



                                                     KNO'W ALL MEN BY THESE PRESENTS

           THAT Howe-Baker Engineers, Ltd. (hereinafter referred to as Contractor), in accordance with the terms
           and conditions of that certain Engineering Procurement and Construction Agreement between Valero
           Refining Company--New        Jersey and Howe-Baker Engineers, Ltd., dated November 26, 2002 (such
           agreement and all am_'ndments thereto hereinafter are collectively referred to as the "Agreement")
           for work to be performed by Contractor thereunder (the "Work") and as part of or related to the UOP
           CCR Platformer Unit, and all other equipment and installations related thereto to be located
           primarily in Paulsboro, New Jersey (such Work, UOP CCR Plafformer Unit and all other equipment
           and installations related thereto hereinafter collectively referred to as the "Project"), as further
           described in the Agreement and in consideration of:
                                                                                                                                 ro

          Two Million Six Hundred Forty-Seven Thousand Seven Hundred Fit'cj-One and 00/I00 dollars
           ($2,647,751.00), representing partial payment under said Agreement, hereby releases, forever discharges, and
          agrees to hold harmless and indemnify Valero Refining Company--New Jersey (hereinafter refan'ed to as
          "Owner"), Owner's parent, affiliates, successors and assigns the Project, and the Project site which is located at
          owner's Paulsboro New Jersey refinery and any and all improvements, materials and equipment placed,
          erected or installed thereon (such site and Owner's refinery are hereinafter collectivelyreferred to as" Owner s
          Site") from those liens, removal fights, debts, claims, charges, demands, encumbrances, security interests,
          mechanic's liens, supplier's, labor or materialmen's liens (constitutional, statutory and common law)
          obligations and cause-s of action of every nature which Contractor has, might have or could have against
          Owner, Owner's successors and assigns, and/or the Owner's Site by reason ofer otherwise arising out of or in
          connection with said Agreement.

         Contractor represents, certifies and warrants that all costs, charges, expenses, payrolls, bills for materials and
         equipment and other indebtedness connected with the Work for which the Owner and Owner's parent,
         affiliates, successors and assigns might be deemed responsible or Owner's Site or the other property might be
         encumbered, and claims incurred by Contractor or on its behalf, or against said Contractor, ofeverynature and
         kind whatsoever arising out of Work, labor, or services performed or material or equipment supplied, or
         because of the performance of the Contractor, have been paid or otherwise satisfied, from the proceeds of the
         payments received from Owner except for:
         None                             which amounts Contractor represents, and warrants will be paid or otherwise
         satisfied from this partial payment, and that except for the lien claims listed on the attached Exhibit 1, there are
         no expected or known claims, liens, security interests or encumbrances in the nature of mechanic's or
         materialmen's liens or claims arising out of or in connection with the performance by Contractor of the Work
         to be performed by Contractor under said Agreement and that this Partial Affidavit, Lien Waiver and General
         Release is made for the purpose of inducing payment under the said Agreement.
         Contractor, further represents, certifies and warrants that each of its subcontractors and sub-suppliers has made
         full payment of all costs, charges, expenses, bills and claims incurred by them or on their behalf of every nature
         and kind whatsoever arising out of Work, labor or services performed or material or equipment supplied or
         because of the performance of the Contractor or its subcontractors and sub-suppliers under said Agreement.
         AS ADDITIONAL                CONSIDERATION             FOR THE PARTIAL PAYMENT, CONTRACTOR AGREES TO
         INDEX,      AND HOLD HARMLESS     OWNER   AND ITS PARENT AND AFFILIATES, AND
         OWNER'S SITE,FROM AND AGAINST ALL COSTS, LOSSES, DAMAGES, CLAIMS, CAUSES OF
         ACTION, JUDGIVIENTS AND EXPENSES, INCLUDING ATTORNEY'S FEES ARISING OUT OF OR IN
         CONNECTION WITH CLAIMS AGAINST OWNER AND ITSPARENT AND/OR AFFILIATES,AND
         OWNER'S SITE WHICH CLAIMS ARISE OUT OF THE PERFORMANCE OF THE WORK UNDER THE
         AGREEMENT AND WHICH MAY BE ASSERTED BY THE CONTRACTOR            OR ANY OF ITS



                                                                                                                    VAL 003725

         J190t   E_<_r{ B3 PARTIAl,   LIEN WAIVER   VAI,ERO   R EV2.D('X_,                       PAGE      I OF 2
Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 48 of 69 PageID: 2386



                                                                   EXHIBIT   B-3


          SUBCONTRACTORS   OR SUB-SUPPLIERS OF ANY TIER OR ANY OF THEIR.REPRESENTATIVES,
          OFFICERS, OR EMPLOYEES.

         The forcgo'mg shall not re]ieve the Contractor of its obligations under the provisions of sa_d Agreemem as
         amended, or applicable law, which have not been expressly and specifically released or discharged herein or by
         their nature survive completion of the Work or services including, without limitation, warranties, guarantees
         and indemnities, all as set forth in said Agreement.
         IN WITNESS WHEREOF the undersigned has duly executed this Partial Affidavit, Lien Waiver and General
         Release this 29th day of March, 2004.

                                                          HOWE-BAKER ENGINEERS, LTD.

                                                          By and Though Its General partner

                                                          HOWE-BAKER MANAGEMENT, LLC




                                                                                   Authorized Signature
                                                              Dennis C. Planic                 Vice President of Finance

         STATE OF TEXAS

        COUNTY OF SMITH

        Dennis C. Planic being duly sworn deposes and says that he is the Vice President of Finance of Howe-Baker
        Engineers, Ltd., that he is duly authorized to execute the foregoing Lien Waiver and Genersl Release arid to
        make this Partial Affidavit, and that the representations, certifications, warranties and statements made in the
        foregoing Lien Wa/ver and General Release and in this Partial Affidavit, are true to his/her own knowledge.




                                                                                         Signature


        Subscribed and sworn to before me this 29th day of Marcl_ 2004./_.




                                                                                         Notary Publio
                                                                                       " Carolyn T,Lloyd




                                                                                                               VAL 003726

        JI(KH W.XH B3 PARTIALI.IEN   WA1VF_   VALERO   REV2.T)OC                                PAGE    2OF2
Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 49 of 69 PageID: 2387




                                                   EXHIBIT B-S




                                           SECURITY AGREEMENT



            Upon receipt of $2,647,751.00 by Howe-Baker Engineers, Ltd. C'Seller") from Valero
            Refining Company-New Jersey ("Secured Party") Seller hereby grants to Secured Party a
            security interest in the amount of $2,647,751.00 in the Work as defined in that certain
            agreement dated November 26, 2002 between Seller and Secured Party (the "Agreement").
            This security interest is to secure Seller's performance of the terms and conditions of the
            Agreement and to evidence Secured Party's payment of progress payments to Seller for
            Work performed under the Agreement. This security interest includes any parts to be used
            for, parts assembled in, and parts to be assembled in the Work and paid for by Secured Party,
            as well as cash and non cash proceeds, increases, substitutions, replacements, additions and
            accessions of an of the foregoing, to secure the performance of Seller's obligations under the
            Agreement, and the amount of funds paid by Secured Party to Seller before delivery of the
            Work to Secured Party and acceptance thereof by Secured Party. Upon material breach of
            the Agreement, Secured Party may exercise any and all remedies of a secured party under
            Article 9 of the Uniform Commercial Code in addition to all remedies stated in the
            Agreement or otherwise available by law.



            SELLER: HOWE-BAKER ENGINEERS, LTD.
            By and Through Its General Partner
            HOWE-BAKER MANAGEMENT, LLC




               Dennis C. PIanic, Vice President of Finance




                                                                                                  VAL    003727
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                                          [] WIRE TRANSFER / [] ACH REQUEST
    TO BE COMPLETED BY ORIGINATOR
    PayingCompany                                                                      CompanyNo.                  PaymentDue Date
    Valero Refining Co - New Jersey                                                    051                         4/28/04
    Wire TransferInTheAmountOf                                                 DocumentNo.
    $ 2,647,751.00                                                             5107103823

    Name                                                                                                          NF' VendorNo.
     Howe-Baker Engineers, Ltd.                                                                                   138583
   ,Address                                                                                                       Tax ID No.(For1099Use)
   i 3102 E. Fifth Street, P O Box 956                                                                            r5-2912742
   ; City                                                    State                                                Zip Code
   Tyler                                                     TX                                                   75710-0956
     WlREINFORMA'/1ON._ ..,      ,_ ,..... ._ ......     ..._= .......   ,,   ....... _.................                           ,,
     BankReceiving Funds
     Bank of America, NA
     ABANo.                                                                                                AccountNo.
     111000012                                                                                             003752192593
     City                                                   State                                                  Zip Code
     Dallas                                                 TX
     FurtherCredit

    FurtherCredit(cont'd)                                                                                  AccountNo.

    Reference
    Inv # 63936 ccr platform project
    TelephoneAdviceTo                             TelephoneNo.                                              TelexNo.

    AdditionalInformation


         AmountCharged             Company#              G/LAccount#             CostCenter#                    WBSElement/Order
                                                                                                                               #           Allocation

    2,647,751.00




    Mauruen R. Jones
    NOTE: Please notify Cash Operationsof a payment requirement 'P_l(tNarne
    immediately.ThLscompleted
                            formmustbereceivedin CashOperationsby
    9 a.m. o_thebans_rdate.                                       Greg Paranto/Michael                             Pesch

   TO BE COMPLETED BY TREASURY
   WireTransferAttestedBy                                                          i Effective
                                                                                             Date
                                                                                   I
    TRANSFERFROMBANK:place one'_Cin box)
    [] VEC Concentration ArC             I-]             Other (Bank Acct. No.)

    []   SAP BankAcct. Information Ver;/ied                                       I SAPSankSe]ection                    i SAP RunName

   MulUlink
          ReleasedBy                                                             I SAPProposalScheduted
                                                                                                      By
   TmnsferApprovedBy                                                     I Confirmation
                                                                                      Call/Reference
                                                                         I


   V1236.dot2/99                                       Distribution: Treasury, Originator


                                                                                                                                   VAL     003728
Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 51 of 69 PageID: 2389


'                                                                                                        Maurc'(mR.Jones
                                                                                                         ValcroEnergy,New Jemey
                                                                                                         MajorProjects - Accountspayable
                                                                                                         800Billings_ortRoad
                                                                                                         Paulsboto,NJ 08066
                                                                                                         Phone856-224-6326  Fax856-224-4347




                           To:      George Garcla                                   Fax:          210-370-2234


                            From:   Maureen R. Jones                                Date:         April 23, 2004




                           CC:




                         X_Urgent            [] For Review          [] pleaseComment                  [] PleaseReply     [] PleaseRecycle

                          %.




                                                is a wire transfer request and invoice for Howe-Baker Engineers,

      :"' :                                                   This invoice # 63936 has been entered in SAP,

                                           Cumber 5107103823. Please advise if you have any problems or

           ""_"                           Thank you for your assistance.




                            Sincerely,




                           Maurean




    ........      ..........             ,, ,_.._.,._   ,..:_:_,_.._,_.:_,.:.......................



                                                                                                                                     VAL      003729
                          Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 52 of 69 PageID: 2390


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L
1    Object                  i
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                                                IItemlDebit            date_ i       ValueCOCur               Plan/CCCurIVendorIName
                                                                                                                           _'i                                                                                                          User     name   iDoC,     da_e     I
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I                            l                  II                          ]                                                    l]                                                                                                                     I                  ]
I    559818                  ]10230804          I     1°1°3/31/2°°41                      280.00                  280.00         I              ]20YDinte_d_l                          #200583           J>Schlun_                      FORTINC         103/31/20041
]-                           ]_o2_o.4 I                  I                  I             _eo.oo                  2..00          I              t                                                                                                       I                  I
I    743582                  _i0230809          [     10105/24/20041                 27,500.00                27,500.00          I              ISUPPLY          IIOTONCRANE_//NEDFORPTRT/A                                             CONAWAYG        I03/31/20041
I*                           ]_o23o0o8 i                 I                   ]       0v,5oo.oo                2v,5oo.oo I                       I                                                                                                       I                  I
I    PB02_I6.FUDU.P.03C      ]45002575211            140110/0_12003[                   1,212.59               36_627.72          ]I0_6Z81F_DUZSgL_'t'_I_Zt_-gR                                              JACOBS                      _N]_S_          108/20/20021
I*                           14500Z575=11                I                   I        Z,212.S9                3_,6=7.92          I              ]                                                                                                       I                  ]
J    PB00118,OSBL.P.03C      145002575251220111/26/2003                      i       19,266.46               150.000.00          II0661BICCR/FGDU                  OSBL-estimate                       to       co_letework             JONESMR         [08/20/2002]
]*                           ]4soonsvs:sl I                                  ]       zs,=45,46 15o,o0o.oo
                                                                                                        I                                       I                                                                                                       I                  I
I psO2ZlS.O.oxE              14soo206371[30]04/30/2003]                                    43.70                  500.00         11093831rent              [2]     portable              toilets                ccr     project         _               ]08/22/2002]
I    PS02118.G.01E           145002583711             40110/20/2003[                       65,00                  530.00         1109383]rent              [2]     portable              _oilets                ccr     pro_ect         V_C             ]08/22/2002        I
I    Pg02118.G.01E           14500258371
                                       i              50[01/14/2004          i            220.00                  530.00         ]z09303]rent[2]                   portable              toilets                ccr     project         VANLEU_C        Io8/22/2oo2J
]*                           1400o=s.711 I                                   I            320.7o               _.sso.ooI                         I                                                                                                      I                  [
]    559817                  14500261323]             20105/30/2003          ]         7,866•50               18,617.00              ]109520]C_          Si_e      DemO.           - Pressure                   Wash       Cone.        FRISBEYC        ]09/06/20021
I°                           14500=6X323[                I                   I         7,066.50               Ze,B17.00              ]           I                                                                                                      I                  [


I.   PB02Z18.FGDU.M.ZTM      lisooa4a=6el
                             ]4500262260       I
                                         i 170101/07/2004                    I[       _to_OZ.OO
                                                                                      94,901.00 i _,._oz.ooi
                                                                                                  94,9ol.0o 1111463]_ I                                   CODE       REACTOR WSSEL                          85-R-3                      _:_H'_LL'_      I[09/10/2002]      I                 d


     pB021Ze.G.01_
     P_02118.G.01L           1400006_S031
                                      nol05/_7/20041 _,_eO.OS
                             145002625931
                                      330105/2?/20041 32.000.00                                               _e,000.o0110911011_oJect
                                                                                                              32,000.00Iz091101Pro_ect and AdminSupport
                                                                                                                                       and_min  Support                                                                                 JONES_
                                                                                                                                                                                                                                        CLIFTD          Io_/11/_oo21
                                                                                                                                                                                                                                                        109/11/20021                   _"
                                                                                                                                                                                                                                                                                      _'
     PB02118.G.01L           145002625931            340106/30/20041                  32,000.00               32,000.00              11091101FroJect              and        Admt n Suppor_                                             CLIFTD          109/11/2002        I
     PB02118.G.01L           J45002625931            350]06/30/20041                  10,080.00               10,088.00              IzO_lZoJ_rojecc              and        Admtn       Support                              _//       CZ,IF'Z'D       J09_ll/2oo2J
                             14500a635_3[ ]                                  I        .,.S.OS                 _0,066.00I                            I                                                                                                   I                  I
      pB02118.G.01C          ]45002625991            200104/30/20O4          ]        25,439.20               35,000.00              ]zo6618]Instrument,                     Electrial             and          Admin        _pport     KOEHLERR        ]09/11/20021
                             i4sooa4as_sl I                                  l _s,63_._o                      30,ooo.oo
                                                                                                                      I                             I                                                                                                   I                  I
      PB021ZB.P.03C          _4500264499]              5o]10/31120021 111,769.40                           1.117,694.00              1107791]Miles_one                  #3CCREnglneerlng                                                MZCHAELW        ]o9/18/2o021
      PB02118.CCR.C.03C      145oo264499[ 110111/27/20021                             57,874.70              578,750.00              [107791]Mtleecone                  #4    One       line       /    PiperackB                        <IC_AELW       ]09/18/2002]
      PBO2118.CCR.C.M        145ooo644991
                                      12o111/27/2oo21
                                                   lol.359.3o [1,013,593.00                                                          11077911mlesCone                   #4CCR/Pumps/vessel/Steel/C_                                      _IO3AELW       1o9110/2002[
      PB02118.CCR.C.03C       145002644991           130112/31/2002          _        47.536.70              475.367.00              11077911Milestone                  #5    IFCU/G            Piping                D_talls            <IC_W          [09/18/20021
      PB02118.CCR.C.M         145002644991140112/31/20021                            159,348.90            1,593,489.00              ]107791]Milestone                  #5 GADrw_s                 for          recyc        compress    <ICHAELW       I09/18/20021
      P_0211B.CCR.C.F         145002644991            150112/31/20021                 65.670;00              _56,700.00              l1077911Milesto_e                  #5    Fabrication                                                _ZC_LW         I09/IB/20021
      PB02118.CCR.C.03C       145002644991            160101/31/200_             1   326.599.30            3.265.993.00              llO??911Mllestone                  #_    - En_ineerlng                                              _ZC_           109/18/20021
      PB0211B.CCR.C.M         _45002644991            170101/31/2003             I    63.170.00              631.781.00              l1077911MilesCone                  #6    -       Procurement                                        _IC_W          109218/00001
      PB02118.CCR.C.F         145002644991            180101/31/20031                 42.834.00              428,345.00              l1077911Milestone                  #_    -       Fabrication                                        HICI{AELW      I09/18/20021

      PB00118.CCR.C.M
      PB02118.CCR.C.C         i45002644991
                              145002644991            200_02/19/20031
                                                      210102/19/20031                486.462.12
                                                                                      _9.063.54            4.864,622.27
                                                                                                              790.638.39             i1077911Miles_one
                                                                                                                                     ll07?911M11es_one                  #7
                                                                                                                                                                        #7     - Procurement
                                                                                                                                                                               - Co_str_c_1on                                            MIC_LW
                                                                                                                                                                                                                                         MIC_           109/18/20021
                                                                                                                                                                                                                                                        109/18/20021           .{/_

      P_02118.CCR.C.C         145002644_51            220103/11/2003             ]         466.00               4,655.00             ]1077911Mllestone#8                       -co_str_ctlon                                             _Z_HAELW           09/38/20021
      PB02118.C_.C.03C        145002644991            330103/31/2003             I   220,760.00            2,253,90_.00                  lz077911Mileston_              #8     - E_g_neerlng                                             V_/L_C             09/18/2002'
      PB02118.CCR.C.F         14_002644991            350103/31/20031                121.038.00            1,210.382.00                  11077911Hilesto_e              _8     - Fshricatlon                                             HICH_LW            09/18/2002!
      PB0211B.CCR.C.C         145002644591            520106/30/20031                           0.30       2,874.810.00                  l1077911Milestone              #ii       - Construction                                         _OEHLERR           09/18/2002                                  i
      PB02118*C_.C.C          [4500264499           i 620109/30/2003             I   _91r,_14.40           1,883.497.00                  l1077911Mllestone              #14       . Const_cCion                                          KOEHI_RR           09/18/2002
      PS02118.CCR.C.C            145002644951         650110/31/20031                991.313.20            2,676,547.00                  11077911Milestone              #15       -Construction                                          JONES_             09/18/2002
      PBO2118.CCR.C.C            145002644991         670_11/25/20011                           0.40       3,459.686.00                  l1077911Milestone              #16       - Construction                                         JONESM_            09_18/2002
      PB02118.CCR.C.C            145002644551         700101/30/2004i2,179.153.00                      _    Z,379,153.00                 li577511Milestone              #18       - Constr_ctlo,                                         DONNE_J_M          105/15/2002                     /--
      PB02118.CCR.C.03C          145002644991         710101/50/20041                593.054.00               393,054.00                 11077911Mech      Comp         50%       o_    Ret        - Engr                                CLIF_              109/18/20021                    _j_
      PB02118.CCR.C.F            145002644991         720101/30/20041                361.881.00               361,881.00                 l1077911MechCorop50#                     of    Re_        - Fab                                    CLIFTD          109/18/20021
      PB02118.CCR.C.M            145002664551         730101/30/20041                459,368.00               459,368.00                 Ii077911Mech      C0¢_0 50%              of    Ret        - Proc                                   CLIFTD          109/18/20021
      PB02118.CCR.C.C            145002644991         740101/30/200411.846.964.00                           1,846,964.00                 l1077911MecH      CO_          50%       of    Ret        - Constr                                 CLZFTD          I09/18/20021
      PB02118.CCR.C.03C          145002644_I          750i01/30/200411.201.978.00                           _,201.978.00                 _1077_llF_nal       AcCept            50%      o_      Re_         . Engr                          C_FTD           I09/18/20021
      PBO211B.CCR.C.F            145002644551         760101/10/20041                591.423.00               551,423,00                 1107791[Fi_ai       P_ccept           50%      o_      Re_         - Fah                           CLIFTO          [05/18/20021
      PB02118.CCR.C.M            145002644991         770101/30/200411._87,405.00                           1,787,405.00                 l1077911Final       Accept            50%      of      Ret'-               Proc                    CLZFTD          I09/18/20021
      PB02118.CCR.C.C            145002644551         780101/30/200411,926_494.00                           1,926.494.00                 l1077911Flnal       Accept            50%      of      Ret         .       Constr                  CLIF_           109/18/20021
      PB02118.CCR.C.C            [45002644991         800]02/27/20041                4_275_40               2.482,649.00                 ]10?791]Milestone              #19       .    Construction                                         JO_TESMR        I09/18/20021
      PB0211B.CCR.C.M            145002644991         820101/30/20041                594,788.00               991,314.00                 11077911CC_Fab.                HeaCerRadian_                           -    Procurement            JONES_          I09/18/20021
      PB02118.C_.36.C            1450026449911230105/05/20031                                   0.01                      0.01           [1077911CO#VP-01/increased                            Construct.                  costs            DO_24           I05/18/20021




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                                Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 53 of 69 PageID: 2391


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                                  L                  I[                     I                        I                   [[                                                                                        I                  I                  i
            PB02118.CCR.C.C_      [4500264499[1330112/01/20031                         2.093•2011          2,150.00      l1077911CO#_I-45/mln,                  fund'g        for    dresser        rd.      solJONES_R.              105/18/2o021
             PB02118.CCR.C•CN     14500264499113t0132/01/20031                         5 770_00|I          5,770.00      11077911C0#H91-44/5             full        port     globe     valve.                      CLIFTD            [09/18/20021
            PB02118.CCR.C.Cq      i450026449911350112/01/20031                         3,390.00      I     3,390.00      i10779_[CO#HBI-47/mod,                 to     concrete        rebar                        CLZFTD            I09/18/2002]
             PB02118.CCR.C.C_     1450026449911360112/01/30031                        13,450.00     II    13,550.00      I1077911CO#_I-48/fab                changes          by    Hitachi      Zosen              CLZF_D            105118/20021
             PB01118.CCR.C.C_     1450026445511370112/01/2003               i          5,560.0011          5,560.00      l1077911CO_}_l-23/Eng               for       new    NHT    Stripper                          _IP_D          I09/18/20021
             PB02118.CCR.C.M      1450026449911470112/01/20031                       309,021.00      I   309.021.00      l10779ilBalance           procurement            Retainage                                 CLIFTD            105/18/20021
             PB02110.cc_.c.c_ 14SOO204499114eo[o413o120o4[
                                                       20.100.00_                                         20,100,00 110_7911co#_z-Sl/52pzea.esee¢ex_                                                                CLI_              1o911e/2oo21
             PB0211B.CCR.C.CN     1450026449911490104/30/30041                         3,670.00_            3,670.00     II077911C0#_I-53             Addition          of       Inspector      for     PerfCLZFTD                    109/15/2002]
             PB02118.CCR.C.C_     1450026445511510104/30/20041                         1,980.00     #I    11,980.00      II077911C0_}g_I-57           Additional             engr    and     draftlngtJONESP_                         I09/18/20021
             VB02zze.CcR.c.C_     J450026445913530104/30/20041
                                                             14,015.0_                                    14,015.001107791[c0#_I-5. 159 PZeasesee text                                                                 C_I_rD         ]09/18/2002I
             PB02118.CCR.C.CN     i450026449011530[04/30/20041                        35,080.00_i_16],730.00             11077911CO#H91-54            Concrete          paving                                         JONESMR        109/18/20021
             P_o2_le.ccR.c.c_     1450026449911550104/30/20041
                                                            138,314.00_,0_0.00                                           IlO_Hco#_z-s5                 _oc_out pe_ _u/cc_                                              _0._           i0_/18/20021                      _/__-¢_                _ Y
             PB02118.G.05B        14500265_591            40103/11/20031                     4.00           4.400.00     11110081ADDITIO_ALRENTAL                      PE_IOD        1/14TUR4/_/03                     VANL_NC        109/24/20021               /           /_         -_'-_._
             vno21ze,o.osE        [4500265_55150104130/2003]                             510.00             4,400.00 IZZl0081ADDITIO_AL
                                                                                                                                     _TAL PERIOD 3 HO_r_S                                                              v_J_JVe_C 109/24/20021 /     .. _/     -                                        ,_
             P,0_Z18.G.05B        145002_5_5_160107/22/20031                           1,_34.00             _,_4.00 I11Z0081_DZ¢IO._ R_._ PERZOD I _z_._s                                                              mn,rz'_   10_124/2002[//_JJ_-,'_.._,/C,'_[J.

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             PB02138.G.01L
             PB02118.G.01_        ,,5oo,,,5,[
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I. P_021ZB.G.01_                  14500271S941145002_18941
                                  14500273865150t04/30/200411
                                                          1122,473.'3105'190'00
                                                                          215,120.00105'150'00
                                                                           12,_00.00 [10,S50_Contractl
                                                                                            I[       Plar_3ng Support - CCR/FGDU/.elCLIFTD                                                                                            [10117/2002  II _'_L'}_                     t _
    _e02zze._.H.14H               145oo2_3_6_1S0[03/30/20041
                                                I         I 12o_OO.OO
                                                              12,_00.00    13,_oo.ooI[13421_[85-K-1eIS_P  WO__._Z_,_T/A               eO_O                                                                                                10123120021                                   )C._f               _


I            PB02118.G.01L         145002755041300_04/30/20041
                                   145o0275004i 190{04/30/20041                      135.300.00
                                                                                      82,400.00           135.300.00
                                                                                                           82,400.00      110_618losB_CongtructlonAsslst&Field
                                                                                                                          110¢618lOS_LConstruction    As°let&Field                              Suppo=_
                                                                                                                                                                                                Support                DONNELLYM
                                                                                                                                                                                                                       _ONNELLYM          10/29/2002
i            PB02118.G.01_         145002_5504l 150104/30/20041                       s_,670.53           135,300.00      l1066181OSBLCOne_ruc_lon                     Agsist&_leld             Support                £OEHLERR           10/29/2002l            l_'_/_''_                   t'_ r'_



I.                                 ,45002,,5,,,'45°°"6"6'
                                       30,0,/05,2003,,
                                             , .,000015°°°°
                                                          ,                                                                                                                                                                                   1/01/2002
I°                                 145002_5504[              I               I       51_.3V0.53           353,000.00      I            I                                                                                                                                                L_                      -


I            559818                [4500277290[30104125120031                          11,525.27           31,000.00      [I066181CCRsite             Prep     - Sub.         13 Area                                  KOEHLERR           I_/04/2002
I*                                 14sooa_a_ol               ]               I         z_,sas.=_           3z.ooo.oo I                 I
    [        559812                145002755761           20[02/28/20031                    57.50          14.000.00      11066_8[_GDUOSS_Pipin                 9     Tie-Ins.        FCC Related                      KOEHI_          1_/13/2002
    [,                                [45003V._6[             I                 I          '57.50          Z,,000.O0      I            i
    I 55_83_                          14500280_12140104/0_/20031 36.z00.00                                 20.000.00 11066181L"_L_G_OTZC_FOR
                                                                                                                                          _XPLORATOR
                                                                                                                                                  DIG                                                                  KO_E_EP,_ 113/3_/_oo21
    I        559816                   [4500280_121         50106/04120031               1,_09.06             5.000.00     [106018[_DU/CCRBXPLORATOR¥                          DIGGING                                  KO_            [11/1_/2oo21
    I•                                145oo2_o_zal I          I 18,oo_.54                                  25,ooo.ooI      I                                                                                                   I         I
    [ 74_5_4                          h5oo2237_51 5O[lO/25/2oo31   63e.64                                   _.ooo•oollz676o[aepro SerVices
                                                                                                                                         for _aJorProjects                                                             KOEH_ERR11_/35/=0021
    I         743584                  145oo283_351         60111/26/20031               6,000.00             6,000.00     IlZ67601Repro           Services       _orMaJorProJects                                      KOE_LERR        111/20/2oo21
    I         743584                  14500283_351         70112129/20031               2,299.94             6,000.00     11169601Repro           SerVices       for     MaJorProJectB                                 KOE_           111/25/20021
    I _4358_                          [4500253_35150101/39/20041 6,000.00                                    6,000.001116_601Repro
                                                                                                                                 SerVices for H_Jor Projects                                                           CLIF_D          11_/15/2oo21
    [ 743584                          14500283_1519olo3/3712oo41 6,ooo.oo                                    6,000.00 [_167601Rep_ose_v_cee
                                                                                                                                          _oreSaJor_'oJecte                                                            C_Ie'tD         111125/20021
    I         _435s4                  145oo3e37151        100]03/29/2004         I      6.000.00             6,000.00         11167601Repro       services       for_a_or            Projects                           _IFTD          J11/25/2002[
        [*                            145o03°1_351 f                             I     a6,530._0           3e,ooo.°o I                     I                                                                                           I                     I
        I     559818                  [45002851631         50[03/_3/20031                  382.02               382.02        [Z0_56_I_ZTOeI_            S_RVZCES            FOR _EW A_AL_                  eLG.       _O_SELLY_       1_2/o2/2oo21
        I"                            14soo=osz_31 I                             I         _8=.02               3_2.02 I                   I                                                                                           I                     i
        I     609640                  [45002857991         30[01130/20041                  814.20            2,194.20         11070531Re_TALOPF150               STDCAB            2 WD                                VANLEL_C           [12/03/2002        I
        [     609640                  14500_85799[         40[01/30120041               2,154•20             2,194•20         [10755318J_T-_OP          _ZS0     S'Z'OC._2_                                             C_Z'n'D           [12/03/20021
        [ 55_els                      145002857_sl50[0_/33/20041                        1.6_7.14             z,6_7._4 110_ss31r_z_ R_z,
                                                                                                                                     rr._,                                                                              C..irz'_          133103130021
        I*                            1450020s_.1   t          I                        4,4_s._4             4,065._4 I     I                                                                                                             I        I
        I     743586                  [45002894461        130104/06/2004[              15,000.00            15,000.00         [1065311FIELDSERVICEFOR                   K-8                                             CLIFTD            [12/12/20021
        I*                            145oo2.4461                I               I     15,ooo.oo            15,ooo.ooI                     I                                                                                              I                  I
        ]     576840                  145002597111         20102/07/20031                1.525.42           18,500.00         11066181Milestone         #2     1005     Upgrade        +/-    35t     °st               KOEHLERR          112/13/2oo21




                                                                                                                                                                                                                                                                     VAL      003731
      Case 3:03-cv-05854-FLW-JJH Document 89-6 Filed 07/13/05 Page 54 of 69 PageID: 2392




                                                                                                            t-.,       _?


 _ :_ :-_:_,:;'vG-::-:!'":":   " ".,"_- "        . _        _ i_,_,._...'---..:"
                                                                             ..............              , :- -..-:    " ....       " .. ....


...         ":_ .                   .   -   .   : b LI)_.:.-:::.                 •    ,       ........                                          ,
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        .:. --..:._,.
                  ,_:-                                 :...........                                                     :....
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                                                                                                                 1

      i                     IN     THE    UNITED    STATES    DISTRICT     COURT
                                  FOR    THE   DISTRICT     OF NEW    JERSEY
      2                                       CAMDEN    VICINAGE

      3                                                                                        "_/_"d--              _"

      4       RIGGS      DISTLER         &    COMPANY,           INC.,        :

      5                                  Plaintiff,                           :

      6                           vs                                          :

      7       VALERO    REFINING              COMPANY        -                :
              NEW   JERSEY,    et            al.,
      8                                                                       :     CIVIL   ACTION         NO.
                                         Defendants•                          :     03-CV-5854
      9

 i0

 ii

 12

 13


 14                                      Tuesday,         March          8,    2005

 15

 16

 17


 18                                    Oral       deposition            of    TERRY      DOWNS       was

 19          taken,        pursuant          to    notice,         at    BALLA_RD,        SPAHR,

 20          ANDREWS        &    INGERSOLL,           LLP,        1735       Market      Street,

 21          Philadelphia,               Pennsylvania              commencing            at    10:14

 22          a•m.     on    the     above         date,    before            M.   Kathleen         Muino,

 23          Professional              Shorthand          Reporter            and     Notary       Public,

 24          there      being      present:




                          230 South 15th Street, 6th Floor, Philadelphia,    PA 19102
                                   Royal
                       Phone: 215-732-0655 Court  Reporting
                                              • 1-888-595-RCRSService,   Inc.
                                                                   • Fax: 215-732-7655
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                                                         TERRY       DOWNS



                                                                                                                      52
   1         that     dollar         amount          was       attributable               to     worker

   2          services        performed              outside          the scope              of Jones'
   3          subcontract?


   4         A.               None       of     this          compares          to    the       scope      of

   5         Jones'      contract.                 This        is    all     milestone              payments

   6         that     are     agreed          upon       between            Howe-Baker              and

   7         Valero.          This       is     not       a    --    this       is    not      --    one

   8         doesn't         compare          to     the       other.           The    percent

   9         complete         is     based         on     Jones'          weekly        and     monthly

 i0          reports.

 ii          Q.               Well,         I didn't            ask       you     about        percentage

 12          complete         of     Jones'          weekly          report.            I'm      asking         you

 13          about      the       figure        of      $22,967,556.                  You      say      that

 14          relates         to    the     milestones                set     forth        and       agreed       to

 15          between         Howe-Baker              and       Valero?

 16          A.               Yes,       that's          correct.

 17          Q.               And     those          were       construction                 milestones,

 18          correct?

 19          A.               They       were        listed          as     construction

 20          milestones.              They         had        "C"s    in     front        of    them.

 21          Q.               And     the      construction                  milestones              would

 22          have     been        milestones             that        were       reached         using        the

 23          services         of     Jones         under        its       subcontract,               correct?

 24                                   MR.      RAY:            Object        to      form.




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                                                 DOWNS
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                                                                                                                      53
   1                                      THE     WITNESS:             The       milestone             itself        --

   2          BY    MR.       PREZIOSI:

   3          Q.                  Yes.

   4          A.                  --     is    just      that,        a milestone.                   The     value

   5          of    the      milestone            does     not        pertain        to        anything         to

   6          do    with         the     Jones'       portion          of    the     work.

   7          Q.                  The     milestone          corresponds                  to    construction

   8          work     done,           correct?

   9                                      MR.     RAY:       Object          to     form        and     asked

  i0          and     answered.

  ii                                      THE     WITNESS:             Say       that      again,           please.

  12          BY    MR.       PREZIOSI:

  13          Q.                  The     milestones             as    they        were        being        billed

  14          under         the    construction              component              of     this        invoice

  15          were     milestones               that      related           to     construction               work,

  16          correct?

  17                                      MR.     RAY:       Object           to    form.

  18                                      THE     WITNESS:             They        were        an    item     of

  19          work     that        was        complete       in       the    construction                   segment

  20          of     the     project.

  21          BY    MR.       PREZIOSI:

  22          Q.                  Thank        you.       And     as    of       September             of    2003,

  23          what,         if    any,        milestones          that       had     been           reached

  24          under         the    construction              component              of     the       EPC




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                                                   TERRY DOWNS


                                                                                                               9O

     1       Q.              And    when        Jones     was       terminated           --       let's

     2       just    step     back        for     a second.

     3                       Is it true            that    CBI       took     over       the

     4       construction           aspect         of the        project       when          Jones       was

     5       terminated?

     6       A.              Yes.

     7       Q.              And    is     it true        that       CBI    performed             a

     8       certain      portion          of that        work      with      its      own     forces?

     9       A.              Yes.

 I0          Q.              And    do     you    know     which       portion           of the          work

 ii          CBI    performed        with        its    own     forces?

12          A.               CBI    performed           the     module       installation,

13           the    piping        installation;            major       equipment

14           installation,           less        the    compressors.

15          Q.               And    how     did    CBI     provide          you     with       its       cost

16           information           for    this     work?

17          A.               CBI    has     a -- they          have        their       own

18          cost-tracking            mechanism.               The    cost     information

19          that     I received           from     CBI     was      in the        form       of    an

20          invoice,         the    same     as a third             party.

21          Q.              And     would        that     invoice          detail       the       work

22          that    was    being         performed?

23          A.              The     invoice        would       only    detail          the        amount

24          that    was    chargeable             to the      project,            be   it     a




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                                                DOWNS
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                                                                                                                                  93

      1       Q.                 You     start        out,          you're           trying           to       cost         out

   2          the     project?

   3          A.                 Right.

   4          Q.                 So     you     know        what         X    contract               is    and        what        Y

   5          contract           is,     and        you     know         you're           going           to    have         to

      6       cost        that    out        during         the      course              of    the        remainder

   7          of     the     project.

   8      -                      Now,        with     CBI,          my       understanding                     is     you

   9          started          wfth      a    $3     million             purchase              order           for     the

 I0           heater,          which         was     --    how       did       you        track           --    as     CBI

 ii           took     on     more       work,        how       did          you     track         the         increase

 12           in     that      scope?

 13           A.                 The     increase              --

 14                                      MR.       RAY:         Object              to    form.

 15                                      THE       WITNESS:                  The     increase              and        the

 16           scope         initially          was        based          on    the        delta           difference

 17           of     what     was       calculated              Jones          to        complete.                  I mean,

 18           that     was       your     basis           of    starting                 --

 19           BY    MS.      UNDERWOOD:

 20           Q.                 Right.

 21           A.                 --    was     what        was       left          out        of   --      you        know,

 22           if    there        was     41    or     $39      million               of       Jones,           then     the

 23           delta        between        what        was      paid           and        where       we're            at,

 24           that     was       the     initial           idea          of    where           the        costs        ought




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                                                DOWNS
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                                                                                                                        94

   1          to     go.

   2          Q.                 Sitting           here        today,       do       you     know       how      much

   3          CBI     invoiced             for     the     remainder             of     the       Jones'         work

   4          after        Jones          was    terminated?

   5                                       MR.     RAY:         I'm      just        going        to    object          to

   6          form.         It       fails       to     take     into       account           the       prior

   7          testimony              in    totality.

   8          BY    MS.     UNDERWOOD.

   9          Q.                 I    think        you     can      probably            answer          that.

 i0           A.                 Somewhere              around        $38       million.

 ii           Q.                 And       I believe            you      testified            that         the     cost

 12           to     complete,             including            the      amount         of    payments             that

 13           Howe-Baker              actually           made       to    Jones,           the      cost      to

 14           complete           for       the     construction                 aspect        of       the

 15           project        was          64    million;         is      that        correct?

 16           A.                 Okay.            It    was     $64      million           including

 17           Jones.

 18           Q.                 Right,          including            the       $8    million           --

 19           A.                 Correct.

 20           Q.                 --       whatever        payment           you       made?

 21           A.                 And       going        back     to      the     question              that      you

 22           just     previously                asked        me,     the       scope        of    CB&I

 23           Services           was       a    little        bit     different              than       the

 24          entire         Jones'             scope,     and       so    there         was       --    the




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                                                           TERRY         DOWNS



                                                                                                                      95

   1          compressor             work,        for        example,            was     in    Jones'        scope,

   2          the    electrical              was        in    Jones'            scope     and    not       in

   3          CB&I's.

   4          Q.                So     that       there        was         additional           work       --

   5                                     MS.      UNDERWOOD:                    Could     you    read        his

   6          testimony           back       on       that     answer            to     that    question.

   7

   8                                       (Whereupon,               the     previous           answer          was

   9          read    back.)

  i0

  ii          BY    MS.      UNDERWOOD:

  12          Q.                And      those         were         --     for     instance,           the

  13          electrical             was     a    portion            that        Howe-Baker

  14          subcontracted                out        to     another         contractor              to

  15          complete,           correct?

  16          A.                That       is     correct.

 17           Q.                Just       as     they        did        with     Schwertner              for    a

 18           certain         portion            of    the     site         or    concrete           work,

 19           whatever          that       was?

 20           A.                That       is     correct.

 21           Q.                But     that          is     all     included            in    that       $64

 22           million?

 23           A.                That       is     correct.

 24           Q.                Do    you        know        what        portion         of    the     $64




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                                                                                         VAL 003528
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           "5100090247                                      11/25/2003




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                                                                                        VAL 00352_       _
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• _.             HOSVE--BAK_R ENGINEERS, LTD.                 3] 02 East Fifth Street, Tyler, Texas 7570 I. Phone: 903/597-0311 Fax: 903/595-7759

                           INVOICE
                           InvoiceNumber      62975                                                                  ttrA]l_'_ ikBo_.e.Bak_r
                           bvolceDate         10-27-03                                                               _/t             ft_so/0£y
                           Page     1      Of     3


         TO:              VALERO REFINING COMPANY-             NEW JERSEY             WIRE FUNDS TO: ***NEW***
                          800 BILLINGSPORT ROAD .                                     BANK OF AMERICA, N.A.
                          PAULSBORO, N.r 08066-1036                                   DALLAS, TX
                                                                                      ABA NO. 111000012
                          ATFN: MR. PAT DOUGHERTY                                    HOWE-BAKER ENGINEERS,                          LTD.
                                PROJECT MANAGER                                      ACCOUNT NO. 003752192593



         TaxID Number                   XX-XXXXXXX
         CustomerOrderNo                4500264499
         rer_                           NET 30 DAYS BY BANK WIRE TRANSFER
         Date   shipped                                                                      Via        "                                            "

         ShippingTerms                                                                       H-BRcf               J-1901


         Item          Qty    •                                  Description .                                                  Unit Price       Amount
                             UOP CCR PLATFORMER              PROJECT, PAULSBORO,          N:.!                                                      ,.

                             O_G_AL CONTRACT
                                           AMOUNT                                   $110,145,980.00
                             APPROVED CHANGE ORDERS                                      3,669,640          00.
                             CURRENT CONTRACT VALUE                                  $113,815,620.00                       •I


                             I_ZSTO_ _volc_#16                                      _                   ,_O_T
                             E_a_R_G           .
                             NON_ .                                             _                   .$              o.o___o
                             COKRENT EARNED MILESTONE                           0.000000%           $               0.00

                             PILEVIOUSLY EARNED                               _                    $18,029,991.00
                             CLTMULATIVE EARNED TO DATE                        15.925176%           $18,125,338.00
                             LESS PREVIOUS INVOICE AMOIYNTS                                         $18,029.991.00
                             CURRENT GROSS INVOICE AMOUNT                                          $      95,347.00
                             LESS10%RETmCnON -
                              NET ENGINEERING AMOUNT               DUE                             .$       " 85,812.00                          $85,812.0C

                             VROCUR_IV_t_T
                             CO_n'LE_
                                    PABmCA'nON
                                            n._'rER                                                                                          i
                              RADIAHTSECTION             .                      _                   .$ •1,138,156.00

                   •         _NT        EARN'ED M/LESTONE                        1.000000%          $       1,138,156.00                     !
                                                                                                                                             i
                                                         CONT_JED
                                                               ON_Gz2                                                                        co._,_n_.:_
                                                                                                                                                     _"       M




       [ALL WORK "DNI_
                     "BYTHISCOMPANY INPRODU_INO _qe MI=RC-HAND/SE                           JC_ CHARGffDXRE IN }
                                                               LJSTEDINTHISINVOICEANI_T'dEPP,
         ACCORDANCE WITH'GOVERNMENT REGULATIONS.SELLERALSO REPRESENTSTHAT THEGOODSOR SERVICESCOVEREDBY THIS I
         INVO]CEHAVEBEENPRODUCEDORRENDEREDIN ACCORDANCEWITHTHEPftovIsIoNs OF THEFAIRLABORSTANDARDSACTOF
       I 1938,ASAMENDED.                               •                                                       [




                                                                   ANALYSIS      COPY

                                                                                                                                HB 010127                ,._ _
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        HOXffF,-BAKER ENGINEERS,            LTD. 3102 East Fifth Street, Tyler,Texas 75701,Phone: 903/597-0311 Fax: 9031595-7759




                 IN V O I C E
            InvoiceNumber: 62975                                                                     _,_                     recants'.
                      To: VALERO REFINING CO. -: N J
                   H-BPet'.- J-1901
                     Page:      2      Of        3




 Item     Qty                              Description                                                          Unit Price               Amount
         •       PREVIOUSLY EARNED                                   _               $40,311,105.00
                 CL,'MULAT/VE EARNED TO DATE                         36.605201%      $41,662,436.00                      :      ,
                 LESS PREVIOUS/NV'OICE AMOUNTS                                       $_             I                                    '
                 CURRENT GROSS INVOICE AMOUNT                                        $ 1,351,331.00                      .      i
                 LESS 10% RETENTION
                     NET PRO CU]_EMENT AMOUNT DUE                                    $ 1,216,198.00                                  $1,216,198100


                 FABRICATION
                 NONE                                                  0.000000__               0.00
                                                                       0.000000%                0.00


                 PREVIOUSLY EARNED                                   _              $11,818,587.00
                 CUMULATIVE EARNED TO DATE                            10.438889%     $11,881,086.00
                 LESS PREVIOUS INVOICE AMOUNTS
                 CURRENT GROSS INVOICE AMOUNT                                        $     62,499.00
                 LESS 10% RETENTION                                                  $_

                             NET FABRICATION         AMOUNT DUE                      $    56,249.00                                  S56,249.00

                 CONSTRUCTION
                 SET STRIPPER OVHD RECEIVER                           _
                 CURRENT EARNED M/LESTONE                             ].300000%      $1_479,603.00          i



                 PREVIOUSLY EARNED                                   _              $22,967,556.00                   :
                 CUMULATIVE EARaNED TO DATE                          21.586332%     $24,568,618.00
                 LESS PREVIOUS INVOICE AMOUNTS                                      $22.967.556.00
                 CURRENT GROSS/NVQICEAMOUNT                                          $ 1,601,062.00
                 LESS 10% RETENTION
                         NET CONSTRuCTIoN  AMOUNT DUE                                $1,440,956.00                                  1 440 956.00

                                    TOTAL AMOUNT DUE THIS INVOICE

                SU_C_L_V
                  CUMULATIVE EARNED TO DATE                    84.555598%           $96,237,478.00
                  PREVIOUSLY INVOICED                          82.255598%           $93,127,239.00
                  GROSS AMOUNT CURRENT INVOICE                  2.3000000%          $ 3,110,239.00      i
                , RETENTION CURRENT INVOICE                                          $   311,024.00
                  NET AMOUNT CURRENT INVOICE                                        $ 2,799,215.00
                                                                                                       .I
                RETENTION     WITHHELD PREVIOUS INVOICES                            $ 9,312,728.00
                RETENT/ON     W/THHELD CURRENT INVOICE                              $   311,024.00
                RETENT/ON     W1THHELD TO DATE                                      $ 9,623,752.00      ]

                                                 CONTINUED       ON PAGE 3




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                                                COPY                HB010129         _ (
